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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                            Master File No. 17-8373 (RBK/AMD)

   IN RE NAVIENT CORPORATION                SECOND AMENDED CLASS
   SECURITIES LITIGATION                    ACTION COMPLAINT FOR
                                            VIOLATION OF THE FEDERAL
                                            SECURITIES LAWS

                                            JURY TRIAL DEMANDED



        Lead Plaintiff Jesse Wayne Pritchard, individually and on behalf of all other
  persons similarly situated (hereinafter “Plaintiff”), by his undersigned attorneys,
  alleges in this Second Amended Class Action Complaint for Violation of the Federal
  Securities Laws (the “Complaint”) the following upon knowledge with respect to his
  own acts, and upon facts obtained through an investigation conducted by his counsel,
  which included, inter alia: (a) review and analysis of relevant filings made by
  Navient Corporation (“Navient”) with the United States Securities and Exchange
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  Commission (the “SEC”); (b) review and analysis of Navient’s public documents,
  conference calls and press releases; (c) review and analysis of securities analysts’
  reports and advisories concerning Navient; (d) review and analysis of complaints
  and other documents relating to the cases against Navient; and (e) information
  readily obtainable on the Internet.
        Plaintiff believes that further substantial evidentiary support will exist for the
  allegations set forth herein after a reasonable opportunity for discovery. Most of the
  facts supporting the allegations contained herein are known only to Defendants or
  are exclusively within their control.
                             NATURE OF THE ACTION
        1.     This is a federal securities class action on behalf of a class consisting
  of all persons who purchased or otherwise acquired Navient common stock between
  January 18, 2017 and November 20, 2018 at approximately 2:00 p.m. ET, inclusive
  (the “Class Period”), seeking to recover damages for violations of the federal
  securities laws under Sections 10(b) and 20(a) of the Securities Exchange Act of
  1934 (the “Exchange Act”), and Rule 10b-5 promulgated thereunder, against
  Navient, its Chief Executive Officer, John F. Remondi, and its Chief Financial
  Officers during the Class Period: Somsak Chivavibul and Christian M. Lown.
        2.     Throughout the Class Period, Navient, one of the largest student loan
  servicers, engaged in an illegal scheme to cheat struggling student borrowers out of
  their rights to lower repayment plans and, therefore, profit at these students’ expense.
  In no less than six different lawsuits, the Consumer Financial Protection Bureau
  (“CFPB”) and State Attorneys General from Illinois, Washington, Pennsylvania,
  California, and Mississippi alleged that Navient routinely places borrowers into
  “forbearance” status in order to generate additional profit, even when forbearance is
  detrimental to the borrower and the borrower would have been unquestionably better
  off with a different repayment plan. Evidence, including discovery from the CFPB’s

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  lawsuit as well as a federal audit of Navient conducted by the United States
  Department of Education (the “Department of Education”), has shown that these
  allegations were true.
        3.     During the Class Period, Navient had an official corporate policy to
  actively steer borrowers into forbearance status for corporate gain at the expense of
  struggling students. Evidence of this corporate policy is demonstrated by a Navient
  script for its customer service representatives that provided the option of forbearance
  first and other plans, such as income-based or income-driven repayment plans
  (“IDR”), only as a last resort. Navient also maintained a unique employee
  compensation program that incentivized employees to spend as little time as possible
  on calls with borrowers. Importantly, the process for describing and enrolling a
  student in forbearance was much quicker than enrolling in an IDR plan. Thus,
  Navient employees were routinely rewarded for following its script and placing
  borrowers into forbearance even when this was not in the borrower’s best interests.
  Navient never disclosed this to investors when discussing its loan servicing
  practices.
        4.     Forbearance did, however, benefit Navient and its executives. First, by
  decreasing the length of calls with borrowers, Navient’s customer service
  representatives were able to service more loans in shorter amounts of time. In turn,
  Navient was able to lower its operating expenses and increase the company’s
  earnings-per-share (“EPS”). Second, by placing loans into forbearance, Navient was
  able to lower the number of loans with a “default” or “delinquent” status. EPS and
  loan status were large factors in determining executive bonuses. Additionally, loan
  status also influenced the number of loans Navient would receive for servicing from
  the Department of Education. Navient would receive more loans from the
  Department of Education if it had fewer loans in default or delinquent status. Thus,



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  Navient’s future business in servicing educational loans was highly dependent upon
  having favorable metrics in these areas.
        5.     Navient, however, gave a very different impression of its operations to
  its investors. Its Chief Executive Officer, John F. Remondi, categorically stated that
  allegations that Navient pushed borrowers into “forbearance” arrangements instead
  of IDR plans (which allow borrowers to repay loans in accordance with their
  respective incomes) were “baseless,” “unfounded,” and “patently false.” According
  to Remondi, Navient “help[ed] customers understand the complex array of federal
  loan repayment options so they can make informed choices” and, when it came to
  forbearance, Remondi said that Navient maintained “policies” to protect student
  borrowers by setting “limits on the number of forbearance months granted . . . .”
        6.     Navient’s categorical denial of the allegations as “unfounded” and
  “unsubstantiated” was false. Evidence obtained in the course of the CFPB’s lawsuit
  against Navient provides concrete examples of borrowers that were placed into
  forbearance to their detriment even though another repayment plan was available
  and unquestionably the better alternative. The evidence also shows that that Navient
  did this in order to “gain[]” an “advantage because enrolling borrowers into
  forbearance is quicker and less expensive to administer than other repayment plans,
  thus decreasing Navient’s operating costs.” Indeed, according to testimony from
  Navient’s Senior Vice President, Operations Support, Patricia Peterson, no
  paperwork was typically required from a borrower if he or she requested orally to be
  placed into forbearance whereas, on the other hand, a request for an IDR plan
  required extensive explanation and paperwork which consumed significantly more
  employee time and operating resources.
        7.     Other evidence shows that Navient required its customer service
  representatives to follow “flow charts” when interacting with borrowers that were
  designed to maximize forbearance and minimize the use of IDR plans. At Navient’s

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  direction, customer service representatives continuously enrolled “[h]undreds of
  thousands of consumers” in “forbearance for a period of two or three years, or more”
  for the purpose of reaping additional profits while minimizing the company’s
  operating costs.
          8.    Navient’s categorical denials of wrongdoing are also false based upon
  evidence obtained in the course of a federal audit conducted by the Department of
  Education’s Federal Student Aid office (“FSA”). In direct response to the CFPB’s
  lawsuit, the FSA audited Navient’s forbearance practices between March 20 and 24,
  2017 (the “FSA Audit”). The FSA concluded that Navient had, in fact, been placing
  borrowers into forbearance without providing them with other, more beneficial
  options. The FSA provided its findings to Navient and, after giving Navient an
  opportunity to respond, the FSA finalized its conclusions in a report dated May 18,
  2017.
          9.    Despite the fact that the FSA’s report was complete no later than May
  18, 2017, Navient did not disclose it. Instead, Navient concealed that the audit had
  occurred, that the FSA initiated the audit in response to the CFPB’s lawsuit, and that
  the FSA Audit found evidence in support of the CFPB’s allegations. Navient should
  have disclosed this information not only because it was material to investors, but
  also because it was required to do so under Item 229.103 of Regulation S-K. Had
  the public known about the audit or that it confirmed the CFPB’s allegations,
  Remondi would have lost all credibility with analysts and investors, and Navient’s
  stock would have plummeted given the company’s exponentially elevated risk of
  regulatory exposure.
          10.   The truth started to emerge on October 5, 2017 when, after months of
  repeated denials by Remondi, the Pennsylvania Attorney General filed a complaint
  against Navient focusing in particular on Navient’s scheme to place borrowers into
  forbearance starting in 2011 and continuing through 2017 (the “PA AG Complaint”).

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  The PA AG Complaint alleged that, “since at least July 2011, despite publicly
  assuring borrowers that it [would] help them identify and enroll in an appropriate,
  affordable repayment plan, Defendants [had] routinely disregarded that commitment
  and instead steered borrowers experiencing long-term financial hardship into
  forbearance.”
        11.    Investors began to question whether Navient and Remondi had been
  telling the truth and, in response to the news of the PA AG Complaint, began selling
  off their shares of Navient stock in order to avoid losses arising from Navient’s
  regulatory exposure. Following a televised interview of the Pennsylvania Attorney
  General as well as numerous reports from several news outlets, Navient’s stock price
  declined from $14.70 to $12.60 on unusually heavy volume in the span of just one
  day. According to Barrons.com, Navient’s market capitalization fell from $4 billion
  to $3.5 billion during this period.
        12.    Yet Navient incredibly continued to deny any wrongdoing. The same
  day of the PA AG Complaint, Navient issued a press release again stating, “The
  allegations are completely unfounded and the case was filed without any review of
  Pennsylvania residents’ customer accounts.” Remondi made this denial even though
  his company had been, and was continuing, to require its employees to use a “script”
  that effectively foreclosed borrowers from having any realistic shot of obtaining a
  suitable repayment plan. Moreover, by this point, the FSA Audit had already
  obtained evidence confirming the truth of the CFPB’s allegations.
        13.    Defendants continued to mislead the public until November 20, 2018.
  On that day, at approximately 2:00 p.m. ET, the Associated Press provided the FSA
  Audit to the public in an exclusive report titled “AP Exclusive: Gov’t questions
  unfair student loan practices.” The report revealed publicly for the first time that the
  FSA had audited Navient in response to the CFPB’s lawsuit and that the audit had
  uncovered evidence showing that Navient’s customer service representatives

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  routinely did not offer borrowers any options other than forbearance. The report
  stated, in pertinent part, that: “The conclusions of the 2017 audit, which until now
  have been kept from the public and were obtained by The Associated Press, appear
  to support federal and state lawsuits that accuse Navient of boosting its profits by
  steering some borrowers into the high-cost plans without discussing options that
  would have been less costly in the long run” (emphasis added). The FSA Audit also
  included a written response from Navient addressing the FSA’s findings, proving
  that Navient knew about the FSA Audit throughout the Class Period.
        14.    Numerous news sources quickly reported on the FSA Audit findings,
  including CNBC, American Banker, Fox Business News, Market Watch, and CBS.
  Investors began selling their stock immediately now that they knew Remondi had
  been lying to them and, as a result, Navient’s stock price plummeted in response to
  the news. On November 20, 2018, Navient’s stock price closed at $10.73 per share
  on unusually heavy volume, falling $1.27, or 11% from the prior day’s close of
  $12.00.
        15.    Because Defendants deliberately concealed these illegal practices
  towards Navient’s borrowers, its stock price was inflated throughout the Class
  Period. Investors were unaware that Navient’s earnings were inflated as a result of
  its policy of pushing borrowers into forbearance and away from IDRs. When
  Navient’s policy was exposed, its investors were harmed when its stock price
  declined. As a result of Defendants’ wrongful acts and omissions, and the precipitous
  decline in the market value of Navient’s common stock, Plaintiff and the Class has
  suffered significant losses and damages.
                           JURISDICTION AND VENUE
        16.    The claims asserted herein arise under and pursuant to §§ 10(b) and
  20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
  promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).

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        17.     This Court has jurisdiction over the subject matter of this action
  pursuant to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15
  U.S.C. § 78aa.
        18.     Venue is proper in this District pursuant to § 27 of the Exchange Act
  and 28 U.S.C. §1391(b), as Defendant maintains offices in this District and a
  significant portion of Defendants’ business, actions, and the subsequent damages,
  took place within this District.
        19.     In connection with the acts, conduct and other wrongs alleged in this
  Complaint, Defendants, directly or indirectly, used the means and instrumentalities
  of interstate commerce, including but not limited to, the United States mail, interstate
  telephone communications and the facilities of the national securities exchange.
                                        PARTIES
        20.     Plaintiff Jesse Wayne Pritchard purchased Navient common stock at
  artificially inflated prices during the Class Period and was damaged upon the
  revelation of the defendants’ fraud. Plaintiff filed his certification evidencing his
  transactions previously with the Court in connection with his motion for
  appointment as Lead Plaintiff. Plaintiff’s certification is incorporated herein by
  reference.
        21.     Defendant Navient provides asset management and business processing
  services to education, health care, and government clients at the federal, state, and
  local levels in the United States. Navient is incorporated in Delaware and maintains
  an office in Moorestown, New Jersey. Navient’s common stock was traded on the
  Nasdaq Global Select Market (“NASDAQ”) under the ticker symbol “NAVI” and,
  as of September 30, 2017, there were 263,012,203 shares of Navient common stock
  outstanding
        22.     Defendant John F. Remondi (“Remondi”) has been Navient’s Chief
  Executive Officer throughout the Class Period.

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        23.   Defendant Somsak Chivavibul (“Chivavibul”) has been Navient’s
  Chief Financial Officer from April 2014 until March 26, 2017.
        24.   Defendant Christian M. Lown (“Lown”) has been Navient’s Chief
  Financial Officer since March 27, 2017.
        25.   Defendants Remondi, Chivavibul, and Lown are sometimes referred to
  herein as the “Individual Defendants.”
        26.   Each of the Individual Defendants:
              a.     directly participated in the management of Navient;
              b.     was directly involved in the day-to-day operations of Navient at
                     the highest levels;
              c.     was privy to confidential proprietary information concerning
                     Navient and its business and operations;
              d.     was directly or indirectly involved in drafting, producing,
                     reviewing and/or disseminating the materially false and
                     misleading statements and information alleged herein;
              e.     was directly or indirectly involved in the oversight or
                     implementation of Navient’s internal controls;
              f.     was aware of or recklessly disregarded the fact that the materially
                     misleading false and misleading statements were being issued
                     concerning Navient; and/or
              g.     approved or ratified these statements in violation of the federal
                     securities laws.
        27.   Navient is liable for the acts of the Individual Defendants and its other
  employees under the doctrine of respondeat superior and common law principles of
  agency because all of the wrongful acts complained of herein were carried out within
  the scope of their employment.



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        28.    The scienter of the Individual Defendants and other employees and
  agents of Navient is similarly imputed to Navient under respondeat superior and
  common law agency principles.
        29.    Navient and the Individual Defendants are referred to herein,
  collectively, as the “Defendants.”
        30.    The Individual Defendants, because of their positions with Navient,
  possessed the power and authority to control the contents of Navient’s reports to the
  SEC, press releases, and presentations to securities analysts, money and portfolio
  managers, and institutional investors, i.e., the market. Each Individual Defendant
  was provided with copies of Navient’s reports and press releases alleged herein to
  be misleading prior to, or shortly after, their issuance and had the ability and
  opportunity to prevent their issuance or cause them to be corrected. Because of their
  positions and access to material non-public information available to them, the
  Individual Defendants knew that the adverse facts specified herein had not been
  disclosed to, and were being concealed from, the public, and that the positive
  representations which were being made were then materially false and/or
  misleading. The Individual Defendants are liable for the false statements pleaded
  herein.
                          SUBSTANTIVE ALLEGATIONS
  A.    Background.
        31.    Navient engages in servicing of federal and private student loans for
  more than 12 million borrowers, including originating federal and private loans,
  marketing student loans and loan packages to schools and students, and servicing
  and collecting loans, under one corporate structure.
        32.    Navient services federal loans pursuant to a contract with the
  Department of Education that was signed by its predecessors, SLM Corporation and
  Sallie Mae, Inc., in 2009.

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        33.    Navient operates in a heavily regulated industry, rendering compliance
  with applicable laws and regulations critical to Navient’s business. Navient was
  subject to, inter alia, the Consumer Financial Protection Act and the Fair Credit
  Reporting Act and other federal and state consumer protection and privacy laws.
        34.    Navient is one of the ten major loan servicers that have contracts with
  the Department of Education and one of four larger servicers awarded Title IV
  Additional Servicer (TIVAS) contracts. Title IV financial aid is federally funded aid
  such as Federal Pell Grant, Federal Supplemental Educational Opportunity Grant
  (SEOG), Federal Perkins Loan, and Federal Subsidized and Unsubsidized Direct
  Loans. TIVAS contractors service these loans and grants.
        35.    On August 27, 2014, the Department of Education extended its TIVAS
  contract with Navient to service federal loans for five more years. As Navient
  outlined in its Form 10-K annual report for 2016 (the “2016 10-K”), under the terms
  of the contract extension, the allocation of additional volume will be determined
  twice each year based on the relative performance of the servicers utilizing five
  performance metrics: borrowers in current repayment status (30 percent), borrowers
  more than 90 but less than 271 days delinquent (15 percent), borrowers 271 days or
  more but less than 360 days delinquent (15 percent), a survey of borrowers (35
  percent), and a survey of Department of Education personnel (5 percent). Quarterly
  scores in each metric are to be averaged together twice each year to calculate the
  final result for each metric.
        36.    As of December 31, 2016, Navient serviced approximately 6.2 million
  accounts or $197.0 billion in loans and recorded $840 million in education related
  revenue. The education related revenue accounted for 82.8% of Navient’s revenue
  in 2016. Navient earned $151 million of revenue under the contract for the year
  ended December 31, 2016. The $151 million from Department of Education service
  contracts accounted for 17.9% of Navient’s education related revenue in 2016.

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  Intercompany loan servicing, including FFELP Loans owned by Navient, accounted
  for $389 million while other education related revenues, such as revenue from
  private education loans, accounted for $300 million. Navient noted in its 2016 10-K
  Risk Factors section, “If Navient is unable to improve its performance and increase
  its relative standing compared to the three other servicing companies with whom it
  competes, its ability to maintain or increase its servicing business with Department
  of Education may be materially adversely affected.”
        37.    Department of Education revenue was critical to Navient’s overall
  operations. Because of its importance to Navient, the Individual Defendants actively
  monitored Navient’s Department of Education operations, including Navient’s
  servicing practices.
  B.    Federal Student Loan Repayment Options.
        38.    Federal Student loans are loans funded or guaranteed by the federal
  government. Federal Student loans are also unique in that they are: 1) primarily
  need-based and made to borrowers regardless of credit history, with automatic
  approval if the student meets program requirements; 2) the interest rate is capped by
  the federal government; and 3) have a variety of repayment options available to
  borrowers, including repayment based on the borrower’s income.
        39.    Borrowers typically access federal loans before private loans because
  federal student loans have lower interest rates and better repayment options.
        40.    A student borrower enters repayment after completing school (or after
  ceasing to be a student for a certain period of time). Upon entering repayment, a
  federal student loan borrower is assigned to or selects a specific repayment plan.
  That borrower has the right to change his/her repayment plan assignment or selection
  at any time, including if the borrower is experiencing financial hardship or distress.
        41.    The Department of Education offers numerous repayment plans to
  eligible borrowers with federal student loans, which are designed to help borrowers

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  manage their student loan debt and make monthly repayment of these loans more
  affordable. These repayment plans include several IDR plans, such as Income-Based
  Repayment (“IBR”) and Pay As You Earn Repayment (“PAYE”). Most federal
  student loans are eligible for at least one IDR plan.
        42.    The monthly amount that the borrower will pay under the IDR plans is
  set at an amount that is intended to be more affordable based on the borrower’s
  income and family size, and may be as low as $0 per month.
        43.    In addition to providing a more affordable monthly payment, most IDR
  plans offer several other benefits for federal student loan borrowers, especially
  borrowers experiencing long-term financial hardship. For borrowers with subsidized
  loans whose monthly payment amount does not fully cover accrued interest, the
  federal government will pay any remaining unpaid interest that accrues on those
  loans during the first three consecutive years of enrollment in the plan.
        44.    This interest subsidy can be a significant benefit to such borrowers
  because they generally have no obligation to ever pay the remaining unpaid interest
  that accrues during those three years. Furthermore, because that unpaid interest is
  paid in full by the federal government, it is not added to the principal balance of the
  loan. When interest is not paid, it can be added to the principal balance of the loan;
  additional interest is then charged on the increased principal balance of the loan,
  which could significantly increase the total amount repaid over the life of the loan.
  Thus, the interest subsidy available to many borrowers enrolled in IDR plans can
  reduce these additional harmful effects, mitigating the financial strain on those
  borrowers.
        45.    Another benefit available to borrowers who are enrolled in an IDR plan
  is forgiveness of the remaining balance of their federal loan, either after making 20-
  25 years of qualifying payments for most IDR plans or 10 years of qualifying
  payments while working full time for certain public service employers.

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        46.    Federal student loans are generally also eligible for forbearance, which
  is a short-term, temporary postponement of payment. With forbearance, a borrower
  experiencing financial hardship or illness may be able to stop making payments or
  reduce his or her monthly payment for a defined period of time.
        47.    Forbearance is typically not suitable for borrowers experiencing
  financial hardship or distress that is not temporary or short-term. Borrowers who
  enroll in forbearance face significant costs, which generally increase the longer the
  borrower is in forbearance. These include the accumulation of unpaid interest and
  the addition of that unpaid interest to the principal balance of the loan. In addition,
  in some cases, following a forbearance, a loan may be reamortized, where the
  monthly payments may be recalculated, which can lead to an increase in the
  borrower’s monthly payment amount. As a result of these costs, long-term
  enrollment in forbearance can dramatically increase the total amount due each month
  after the forbearance period ends and over the repayment term for a borrower’s
  federal loans.
        48.    U.S. News and World Reports discussed the dangers of forbearance,
  “The problem with forbearance is that interest still accrues on all loans, even
  subsidized Stafford loans, and if you do not pay the interest, it is capitalized – or
  added – on to the principal balance at the end of the forbearance period. This means
  that borrowers who use forbearance end up paying interest on top of interest, which
  isn’t good. The capitalizing interest can also cause your monthly payment to increase
  because of the larger balance, depending on your payment plan. So if you can’t
  afford your student loan payments today, you may have an even harder time
  affording them once the forbearance has concluded.”
        49.    Because IDR plans enable borrowers to avoid or reduce these costs
  associated with forbearance, for borrowers whose financial hardship is not



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  temporary and short-term, enrolling in an IDR plan is usually a significantly better
  option than forbearance.
        50.    Because of the number and complexity of repayment options available
  for federal loans, a conversation about alternative repayment plans and the
  borrower’s financial situation is usually time-consuming.
        51.    Moreover, since to enroll in an IDR plan, a borrower is required to
  submit a paper or online application, and include certain income tax documentation
  with that application, the process of enrolling a borrower in such plans sometimes
  requires multiple, lengthy conversations with the borrower.
        52.    In addition to the paperwork required to enroll a borrower in an IDR
  plan, a borrower in such a plan must also complete a recertification form each year
  to document his/her current income and family size, which is then used to adjust the
  borrower’s payment amount. Processing this renewal paperwork further increases
  the employee time that Navient must devote to borrowers who enroll in an IDR plan.
        53.    This affordable payment amount applies for a period of twelve months.
  At the end of this twelve-month period, the affordable payment amount will expire
  unless the borrower renews his/her enrollment in the plan before the expiration date.
  To do so, the borrower must “recertify” his/her income and family size by submitting
  updated information, including documentation of income each year.
        54.    If the twelve-month period expires because the borrower has not timely
  recertified income and family size, several negative consequences are likely to
  occur. First, the borrower’s monthly payment amount may immediately increase
  from a low affordable amount to one that is typically in the hundreds or even
  thousands of dollars.
        55.    Other significant consequences that will occur when the twelve-month
  period expires without a timely recertification include (1) the addition of any unpaid,
  accrued interest to the principal balance of the loan; (2) for subsidized loans in the

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  first three years of enrollment in an IDR plan, the loss of an interest subsidy from
  the federal government for each month until the borrower renews his/her enrollment;
  and (3) for some borrowers who enroll in forbearance when the twelve-month period
  expires, delayed progress towards loan forgiveness because the borrower is no
  longer making qualifying payments that count towards loan forgiveness. These
  consequences are all irreversible, thus it is extremely important that loan servicers
  give borrowers clear and timely notice of the process and timeline for renewal.
        56.    In contrast, enrollment in forbearance can often be completed over the
  phone, in a matter of minutes, and generally without the submission of any
  paperwork.
        57.    Putting a borrower into forbearance is less labor-intensive both in terms
  of call-length and paperwork, thus it is more cost efficient for Navient to put
  borrowers into forbearance rather than expend the time and labor necessary to
  discuss and then enroll a borrower into an IDR plan.
        58.    The Department of Education has publicly encouraged borrowers to
  consult their federal student loan servicer to determine the best repayment option or
  alternative for that individual borrower. In several places on its website, the
  Department of Education has advised borrowers to contact their student loan servicer
  before applying for any alternative repayment plan or forbearance, with statements
  such as the following: “Work with your loan servicer to choose a federal student
  loan repayment plan that’s best for you”; “Before you apply for an income-driven
  repayment plan, contact your loan servicer if you have any questions. Your loan
  servicer will help you decide whether one of these plans is right for you”; and
  “Always contact your loan servicer immediately if you are having trouble making
  your student loan payment.”




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  C.    The Complaints filed by the Consumer Financial Protection Bureau and
        State Attorneys General in Illinois and Washington Put Defendants on
        Notice of Violations.
        59.    On January 18, 2017, the CFPB and State Attorneys General from
  Washington and Illinois filed lawsuits against Navient claiming multiple violations
  relating to predatory lending practices, including failures to disclose all loan
  payment options resulting in the funneling borrowers into forbearance versus IDR.
        60.    The complaints alleged that, despite Navient’s representations that they
  would help borrowers experiencing financial difficulties find solutions that were in
  the best interest of the borrowers, Navient instead steered borrowers into forbearance
  as opposed to IDR plans that were usually a significantly better option for borrowers
  than forbearance. This practice was in spite of statements on Navient’s website that
  state that forbearance is appropriate for borrowers who “have a problem making on-
  time payments due to a temporary financial difficulty.”
        61.    The complaints alleged that due to Navient’s incentive compensation
  plan, which compensated employees, in part, based on having a short average call
  time, it was financially detrimental for employees to engage in the lengthy
  conversations needed to appropriately determine and discuss the right solution for
  each borrower. This problem was compounded by the fact that conversations about
  IDR and the amount of paper work required to initially enroll borrowers in IDR
  plans, and then later renew IDR plans, was vastly more time-consuming than the
  time needed to put a borrower into a forbearance plan.
  D.    Navient’s Response to the State Attorneys General and CFPB’s
        Allegations.
        62.    Navient responded to the law suits immediately, denying that the
  allegations had any factual basis. Navient’s press release on January 18, 2017 stated:



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        The allegations of the Consumer Financial Protection Bureau are
        unfounded, and the timing of this lawsuit—midnight action filed on the
        eve of a new administration—reflects their political motivations.

        ...

        Navient has a well-established, superior track-record of helping student
        loan borrowers succeed in repayment. 49 percent of loan balances
        serviced by Navient for the federal government are enrolled in income-
        driven repayment plans. Assertions that we do not educate borrowers
        about IDR plans ignore the facts.

        ...

        Navient has a responsibility to its customers, shareholders, and
        employees to defend itself—publicly and in court—against this
        unsubstantiated, unjustified and politically driven action. We cannot
        and will not accept agenda-driven ultimatums designed to get headlines
        rather than help for student borrowers. We will vigorously defend
        against these false allegations and continue to help our customers
        achieve financial success.
        63.   Instead of addressing the problems or making efforts to fix non-
  compliant and misleading behaviors, Navient instead called them “unsubstantiated”
  and “unjustified” and continued with their deceptive, misleading, manipulative, and
  non-compliant practices.
        64.   Analysts accepted Navient’s denials entirely. Credit Suisse, for
  example, in its report dated January 18, 2017 emphasized that Navient’s regarded
  the CFPB’s lawsuit “as unfounded” and even recited Navient’s claim that the lawsuit
  was politically motivated and prompted by an impending “change in the leadership
  of the CFPB” by the incoming administration. Based on Navient’s response to the
  CFPB lawsuit, Credit Suisse maintained its neutral rating for Navient.
        65.   Investors, in turn, relied on Navient’s statements in response to these
  complaints, and believed that Navient was acting in accordance with its



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  representations about its servicing practices and overall commitment to the financial
  health of its borrowers. Therefore, investors believed that Navient did not have a
  corporate policy of forcing borrowers into forbearance instead of IDRs against their
  best interest and did not incentivize its employees to implement this policy.
        66.    Unbeknownst to the public, Navient’s corporate policy of illegally
  steering borrowers into forbearance was one of the company’s core strategies.
  Navient gained an advantage by enrolling borrowers into forbearance because
  forbearance was quicker and less expensive to administer than other repayment
  plans, thus decreasing Navient’s operating costs. Because of the number and
  complexity of repayment options available for federal loans, a conversation about
  alternative repayment plans and the borrower’s financial situation was usually time-
  consuming. As a result, Navient slotted borrowers into forbearance even when
  alternative payment plans were unquestionably the better alternative. As a result,
  Navient’s stock price was artificially inflated.
  E.    Navient Continued Its Illicit Servicing Practices into 2017 Despite the
        States’ Attorneys General Complaints and Regulator Charges.
        67.    Testimony from an investigational hearing conducted by the CFPB on
  April 28, 2015 confirms that enrolling a borrower into forbearance was
  straightforward and could be completed over the telephone without additional
  paperwork while this was not true for enrolling in an IDR. Patricia Peterson,
  Navient’s Senior Vice President, Operations Support, testified as follows:

               Q.     And so after a borrower makes an oral request for forbearance
                      for federal student loans, is there any paperwork that they’re
                      required to submit?

               A.     Not typically.

               Q.     So during the phone conversation with a customer service agent,
                      during that conversation could the customer service agent


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                     complete the enrollment of that borrower into a hardship
                     forbearance program?

              A.     Yes….

              Q.     Can a request for income-based repayment be made orally?

              A.     Not in the same way that a forbearance can be done.
        68.   In order to increase forbearance and avoid the operating costs
  associated with IDR plans, Navient instructed customer service representatives to
  use “flow charts” when interacting with borrowers. These flow charts prioritized
  forbearance even when other options were more appropriate, requiring Navient
  employees to offer only the options of deferment or forbearance to borrowers who
  indicate that they cannot afford to make any payment even though forbearance was
  only suitable for borrowers experiencing a short term or temporary situation.
        69.   Between January 1, 2010 and March 31, 2015, Navient enrolled over
  1.5 million borrowers in two or more consecutive forbearances totaling twelve
  months or longer. More than 470,000 of those borrowers were enrolled in three
  consecutive forbearances, and more than 520,000 of them were enrolled in four or
  more consecutive forbearances. For borrowers enrolled in three or more consecutive
  forbearances, each forbearance period lasted, on average, six months. Hundreds of
  thousands of consumers were continuously enrolled in forbearance for a period of
  two or three years, or more.
        70.   The CFPB as well as the State Attorneys General and other civil
  plaintiffs have identified specific instances in which Navient’s borrowers were
  “steered” into forbearance. The following examples show that Navient maintained
  and enforced the forbearance scheme at issue herein and, contrary to Remondi’s
  categorical and unequivocal denials, had been doing so for years:
              a.     Navient’s communications with “Borrower 1” regarding
                     repayment options in or about 2012, resulted in Navient placing


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                    the borrower’s loan in forbearance. At that time, the borrower
                    requested other repayment options and Navient did not offer any
                    alternatives. (CFPB Interview, January 25, 2017)
              b.    Navient’s communications with “Borrower 2” regarding
                    repayment options in or about 2015, including a call in which the
                    borrower asked Navient if an income-based repayment option
                    was available to her and Navient indicated it was not. In
                    subsequent communications between Navient and the borrower,
                    Navient offered the consumer a forbearance option only. (CFPB
                    Interview, January 27, 2017)
              c.    Navient’s communications with “Borrower 3” regarding
                    repayment options in or about 2011 and 2012, including
                    communications regarding potential repayment options for her
                    federal loans. At that time, Navient offered the borrower only
                    forbearance as an option. (CFPB Interview, February 2, 2017)
              d.    Navient’s communications with “Borrower 4” regarding
                    repayment options in or about 2013, including communications
                    in which Navient informed the borrower that her only option was
                    forbearance and did not provide information regarding other
                    repayment options. (CFPB Interviews, July 19, 2016 and
                    February 13, 2017)
              e.    Navient’s communications with “Borrower 5” regarding
                    repayment options in or after 2010, including communications in
                    which Navient advised the borrower to consider forbearance and
                    deferment. Later, upon the borrower’s own research, the
                    borrower applied for an income-based repayment plan. (CFPB
                    Interview, March 21, 2017)
              f.    Navient’s communications with “Borrower 6” regarding
                    repayment options, including the borrower’s request for
                    reasonable repayment plans after the borrower’s deferment
                    options were exhausted. At that time, the only option offered by
                    Navient to the borrower was forbearance. (CFPB Interview,
                    March 10, 2017)
              g.    Navient’s communications with “Borrower 7” regarding
                    repayment options beginning in or about 2016, including the
                    borrower’s request for a lower monthly payment on the


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                    borrower’s Parent PLUS loans. At that time, the only option
                    offered by Navient to the borrower was forbearance. In 2017,
                    Navient again offered the borrower a forbearance option. (CFPB
                    Interview, March 3, 2017)
              h.    Navient’s communications with “Borrower 8” regarding
                    repayment options beginning in or about 2006 or 2007. When the
                    borrower called Navient to discuss repayment plans, Navient
                    indicated that forbearance was the only option. The borrower’s
                    loans were enrolled in multiple forbearances. (CFPB Interview,
                    February 27, 2017)
              i.    Navient’s communications with “Borrower 9” regarding
                    repayment options in or about 2016 resulted in Navient advising
                    the borrower that forbearance was her only repayment option for
                    one of her loans. The borrower discovered income-driven
                    repayment options on her own. (CFPB Interview, March 22,
                    2017)
              j.    Navient’s communications with “Borrower 10” regarding
                    repayment options in or about 2016 involved the borrower
                    calling Navient to discuss repayment plans and Navient
                    indicating that forbearance was the only option. The borrower’s
                    loans were enrolled in forbearance. The borrower subsequently
                    learned from a third party about income-drive repayment
                    options, and he proceeded to apply for an income-based
                    repayment plan. (CFPB Interview, May 8, 2017)
              k.    Navient’s communications with “Borrower 11” regarding
                    repayment options in or about 2016. When the borrower called
                    Navient, she indicated that she was unemployed and that her
                    payments were too high. Navient indicated that her only option
                    was forbearance and did not discuss income-driven repayment
                    plans. (CFPB Interview, July 11, 2017)
              l.    Navient’s communications with “Borrower 12” regarding
                    repayment options, including certain communications with the
                    borrower regarding repayment options on Parent Plus loans. At
                    that time, Navient did not offer any repayment options other than
                    forbearance. The borrower’s loans were in forbearance from time
                    to time beginning in or about 2007. (CFPB Interview, March 6,
                    2017)

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               m.     Navient’s communications with “Borrower 13” regarding
                      repayment options in or about 2017, including a call with the
                      borrower regarding an unpaid balance on his Stafford loans. At
                      that time, the borrower requested repayment options and Navient
                      indicated that there were no options available. (CFPB Interview,
                      January 25, 2017)
               n.     Navient’s communications with “Borrower 14” regarding
                      repayment options, including communications regarding
                      adjusting her federal loan payments. At the time of such
                      communication, Navient informed the borrower that her only
                      option was forbearance. (CFPB Interview, February 2, 2017)
               o.     Navient’s communications with “Borrower 15” regarding
                      repayment options, including communications in which Navient
                      offered the borrower only the forbearance option for her federal
                      loans. Thereafter, when the borrower’s forbearance options were
                      exhausted, Navient offered to enroll her in an income-driven
                      repayment plan. (CFPB Interview, February 13, 2017)
               p.     Navient’s communications with “Borrower 16 regarding
                      repayment options, including communications in which Navient
                      informed the consumer that the only options available to the
                      consumer to repay her loans were forbearance or deferment.
                      (CFPB Interview, February 14, 2017)

        71.    Navient’s use of forbearance was intentional and motivated by greed at
  the expense of struggling borrowers. Indeed, in September 2015, Navient responded
  to the CFPB in the course of a Notice and Opportunity to Respond and Advise
  proceeding. Navient’s response acknowledged the differences between placing
  borrowers into forbearance versus IDR plans, and admitted the benefits Navient
  could enjoy if it placed borrowers into forbearance instead of IDR plans.
        72.    Specifically, in its September 2015 response to the CFPB, Navient
  conceded that: as the volume of income-driven repayment plan applications and
  renewals received by Navient increased, it has had to increase the size of its staff to
  review and process those forms, thereby increasing operating costs. Navient’s


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  response provided the following examples of increased operating costs relating to
  IDR plans: “The Company has been so concerned about getting information to
  borrowers that in 2014 it created a specialized customer service team, which is
  comprised of 70 dedicated employees to assist borrowers with their recertification
  questions”; and “[I]n its back-office operations, the Company in 2014 created a new
  department, called Repayment Options, to process IDR-related paperwork and other
  repayment paperwork. This department has grown to more than 100 employees
  during peak season.”
        73.    In June 2016, Navient told the CFPB in response to a Request for
  Information that: “the IDR application requires the borrower to use a separate
  government website or to complete a 12-page paper application form. With either
  option, enrollment is not immediate and oftentimes requires time to gather required
  income documentation”; that “[o]ur experience has shown that a borrower’s intent
  to enroll in an IDR is not always enough. Because the IDR process must be
  completed away from the servicer’s website and where our customer service agents
  are not allowed to co-browse (where the representative can see the borrower’s
  application entries) with the customer, we have found that borrowers require
  reminders and encouragement to complete the required forms”; and that “[m]any of
  those who ultimately fell delinquent or even defaulted had discussed enrolling and
  also received information indicating they were eligible for the plans but did not take
  the necessary follow-up action to enroll. The majority of these borrower’s [sic]
  simply never followed though [sic] towards IDR enrollment despite our reminders
  including follow-up calls and written correspondence.”
        74.    Navient, instead of making any changes or reforms, continued business
  as usual in 2017. In Navient’s 2017 4th Quarter Investor Deck, Navient reported the
  following forbearance rates: 12.9% in 2016 and 11.2% in 2017 for FFELP Loans
  Segment “Core Earnings” Basis and 3.4% in 2016 and 3.8% in 2017 for Private

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  Education Loans Segment “Core Earnings” Basis. Within the Private Education
  Loan Segment, forbearance rates were 5.7% in 2016 and 6.8% in 2017 for Troubled
  Debt Restructurings (“TDR”) loans and 1.6% for both 2016 and 2017 for non-TDR
  loans. These statistics show that there was little, if any, change in Navient’s practices
  from 2016 through 2017.
           75.   Information obtained from former Navient employees confirms that
  Navient did not change its practices during 2017, but instead maintained its
  predatory servicing practices.
           76.   CW1, a Navient employee from March 23, 2015 to Nov 11, 2016 as a
  loan specialist based in the Muncie, Indiana office, verified many of the egregious
  practices alleged in the CFPB and State Attorneys General complaints. CW1 worked
  primarily with borrowers who were having difficulty paying and in default
  prevention, as well as in special investigations regarding borrowers who had died.
  He primarily processed Department of Education loans but also handled some
  private loans. He handled inbound calls only while other teams handled outbound
  calls.
           77.   When asked what the procedure was when a borrower called up and
  said they were having a hard time paying, CW1 replied: “Do you want to know what
  I did or what they told us to? Because it’s two different things.” CW1 described what
  he called a “hierarchy” of loan repayment options for borrowers experiencing
  financial difficulty. The first option staff were told to direct borrowers towards was
  forbearance, followed by the graduated repayment plan, then offering an extended
  payment plan, and finally offering IDR as a last resort. Loan specialists were also
  instructed that if at any point a borrower got frustrated and said they were going to
  sue Navient, to tell borrowers to have their legal counsel reach out, and hang up
  immediately



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        78.    CW1 said that under this “hierarchy” script, after forbearance, Navient
  staff was supposed to steer borrowers to the graduated repayment plan. CW1 says
  supervisors told him to sell the graduated repayment plan by telling borrowers that
  they would have significantly lower, interest-only payments to start. The borrower
  would then be told that each year their payments would increase but they would still
  be able to pay off the loan in the original 10 years. Navient did not necessarily give
  borrowers any information on how much their payments would incrementally
  increase over the years or how much more they would be paying over the life of the
  loan. He said that Navient’s management rationalized this to loan specialists that by
  the fifth year most people would be doing better financially and therefore able to
  handle the higher payments from the graduated payment plan. If a borrower did not
  want to go onto a graduated repayment plan, a specialist was supposed to direct them
  to an extended payment plan. An extended payment plan would extend the length
  of the term of the loan, which would, over the life of the loan significantly increase
  the amount of interest a borrower pays.
        79.    Only if a borrower said no to all three of those options (i.e., forbearance,
  graduated, extended) were specialists supposed to offer the IDR plan. CW1 said that
  his practices deviated from Navient’s scripted practices of offering forbearance first
  because he would attempt to talk borrowers out of going into forbearance and instead
  direct them to IDR as he knew that those programs were in the better interest of the
  borrower. “Unless the person just does not want to save money, there was never a
  reason for anybody not to put into income-driven.” CW1 explained that even under
  IDR their interest rates would drop and their interest would not compound and they
  would still be able to pay more or pay the loan off should they so choose. At one
  point CW1 said he heard a team leader explain the repayment “hierarchy” by saying
  that getting borrowers into graduated and extended repayment plans was a priority
  for Navient because of compounding interest.

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        80.    CW1 said there was a lot of pressure and attention paid to call time at
  Navient. The target time for an inbound call was 4 minutes or less, which CW1
  described as being insufficient for the complexity of the tasks at hand. Navient
  management would write up workers in the call center whose times were over the
  monthly average and/or above the 4-minute target. Navient management also judged
  employees relative to one another on a peer-to-peer level, such that employees would
  be reprimanded or receive poor marks if they completed calls slower than their
  coworkers (regardless of whether the call was completed in less than four minutes.
  According to CW1, management believed you could be moving calls faster if your
  peers were moving calls faster. “If you wanted to keep your job, you had to get
  callers off the phone. So, things that needed to get done didn’t get done.”
        81.    CW1 said he could get through a forbearance call in 2 minutes, start-
  to- finish. Even faster, he said, if he read the script really fast because, he said, there
  was no requirement for borrowers to understand the disclaimers about interest
  compounding. He said the words just need to be on the recording in case the
  recording is ever played back. Getting someone onto the graduated repayment would
  take him about 1 and a half minutes. In contrast, IDR enrollment would take 15
  minutes to enroll, CW1 said, largely just because of time it takes to explain to people
  how the process works. He attributed that to the frequent changes in IDR options
  (income-contingent repayment vs. pay-as-you-earn, etc.)
        82.    CW1 said that Navient management instructed CW1 and other loan
  specialists not to spend time walking borrowers through the Department of
  Education website. Instead, staff were told to direct borrowers to call the Department
  of Education for help with navigating the website. CW1 says that the Department of
  Education was paying Navient for this service that it was not providing.
        83.    CW1 said he could earn as much as a $1,200 bonus per month under
  Navient’s incentive program. He said that employees would start out the month

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  qualified for a bonus and slowly become disqualified for it if you did not meet very
  specific metrics. Those metrics included staying below the 4-minute average call
  time, caller survey ratings staying above a 90% satisfaction rating, number of calls
  resolved, and sticking to 95% adherence to the work schedule. Adherence refers to
  the fact that their work schedule was regulated down to the minute. If you clocked
  in at 8:30 a.m. and were supposed to be on break at 9:30 a.m. but a call went too
  long and you didn’t get off the phone until 9:45 you were considered “out of
  adherence.” Many workers would rush callers off the phone, particularly as it came
  close to break times or other adherence checks, so that they could stay in adherence
  and secure their bonuses.
        84.    CW1 described a piece of management software that supervisors use to
  monitor their call processors. That software shows how long everybody has been on
  the phone. When someone has been on the phone approaching 5 minutes, their icon
  turns red. If it gets to 20 minutes, the icon starts flashing. CW1 said that because of
  this you would have team leads and supervisors sending him chat messages while
  he was on lengthy calls with borrowers telling him to end the call or find ways to get
  them off the call. CW1 said that this was particularly the case because supervisor
  bonuses were based on the adherence of the employees they supervised. He
  described one incident that a supervisor yelled at her subordinates because she did
  not get a bonus due to her subordinates being too far out of adherence. In addition,
  CW1 said there is a separate division called “workforce management” whose sole
  function is to enforce adherence. Workforce management staff would also
  simultaneously send chat messages telling CW1 and other callers to get off of
  lengthy calls.
        85.    CW1 said he was warned multiple times for not following that
  hierarchy, offering IDR to most callers that came to him, and exceeding call times.
  He was fired after they monitored a call on which a borrower wanted to sign up for

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  the income-contingent repayment plan, a subcategory of IDR. CW1 instead directed
  the caller to the pay-as-you-earn IDR option, believing it to be a better financial
  option for him.
        86.       CW2 worked at Navient from June 2015 to June 2017 as a Student
  Loans Customer Service Specialist in the Spanish-speaking group based in the
  Wilkes-Barre, PA office, and confirmed that egregious practices continued into the
  class period.
        87.       CW2 said forbearance was “supposed to be our last option” but the way
  the options were presented, Navient’s script hid the risk and made it sound attractive
  and penalty-free to struggling borrowers. The way Navient instructed its customer
  service team to describe forbearances, it made that option sound attractive to
  struggling borrowers. “We were told to tell them they’d have a $0 per month
  payment, what we weren’t telling them is their interest is adding up,” CW2 said.
  “We weren’t able to tell them.”
        88.       CW2 also explained that forbearance reduced the paperwork for
  Navient. CW2 said it did because it involved one online tool, while deferment or
  IDR options required more paperwork, such as documentation from a school or
  government agency.
        89.       CW2 also said that Navient’s inbound call representatives were
  incentivized to end calls within an established upper-range time limit of between
  seven minutes and ten minutes, to keep hold-time for callers under 30 seconds, and
  sometimes offered incentives for doing things like enrolling buyers in paperless
  billing. CW2 said, “I know they gave incentives depending on the situation, but
  mostly just for ending calls in time and we couldn’t put callers on hold for more than
  30 seconds.” That rule was problematic because if a representative did not know the
  answer to a question asked by a borrower the system did not leave much room for



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  the worker to ask their supervisor without leaving the borrower on hold for too long
  and being penalized.
        90.    CW2 discussed this in context of the forbearance program, “We had
  this system, if [the caller] said, ‘Hey, I want to be placed in forbearance,’ I click on
  forbearance, then the forbearance script pops up and I tell them the rules. The thing
  that does suck is, because we were timed, I caught myself and others reading really
  quick. Most people didn’t understand and just agreed.” CW2 said he noticed himself
  speeding up about halfway through the script, as the clock ticked down. “We’d lose
  our bonus at the end of time,” CW2 said. To complete the forbearance script without
  going over the mandated time CW2 stated, “We had to power talk to get through --
  half the people didn’t understand what we said.” CW2 explained that it was
  important to read the entire forbearance script that appeared on their company portal.
        91.    CW2 noted, “Honestly, most of the calls I got, everyone had issues.”
  CW2 often spoke with Spanish-speaking callers who didn’t know and were never
  told how to repay their loan. CW2 explained that the income-based repayment
  options were better than forbearance, but not much for those with non-subsidized
  loans. Navient, however, did not allow its representatives to tell borrowers about the
  major downside of each option. CW2 received about 120 calls each work day from
  borrowers who were in a variety of situations. He estimated that on Monday through
  Thursday most of the callers were in trouble, and on Fridays, most people who called
  in wanted to make payments. Some borrowers called in to make their payments
  because they had little confidence in paying by mail or through the website, CW2
  said. Checks and money orders could be mailed to Navient, but the process was
  confusing, CW2 recalled.
        92.    These confidential witness accounts are corroborated by the findings of
  the FSA Audit. According to Liz Hill, a Department of Education spokeswoman, the
  FSA decided to do a review of Navient’s forbearance practices after the CFPB filed

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  its lawsuit against Navient in January 2017 to see if there were any compliance
  issues. In a report dated May 18, 2017, the FSA described the results of its findings
  which included an on-site review at Navient between March 20 and 24, 2017.
        93.    According to the FSA Audit report:

               [T]he objective of the site visit was to assess whether the use of
               forbearance by the Navient CSRs met the standards outlined in
               federal regulations, contractual requirements, and implemented
               Change Requests. More specifically, the review team evaluated
               whether or not the Navient agents offered all the applicable
               options before placing a borrower in forbearance.
        94.    As part of FSA Audit, auditors listened to approximately 2,400
  randomly selected calls to borrowers from 2014 to 2017 out of a batch of 219,000.
  The findings included that, in almost one out of ten calls, Navient offered borrowers
  the option of forbearance as the only option.
        95.    In several instances where only forbearance was offered, “this occurred
  after the borrower made a promise to pay within a short time of the call – usually
  within a time frame that would cause no additional detriment to the borrower. . . .
  [T]hese borrowers were not given the opportunity to decide if another option (like
  one of the Income Driven plans or a deferment) would have been more favorable.
  And in some instances, interest was capitalized when another option may have
  prevented it.” The FSA Audit also included a review of servicing histories by
  examining borrower files stored in Navient’s CLASS system. The FSA Audit
  showed that Navient offered borrowers only forbearance in 20% of the samples.
  Navient’s response to the FSA Audit, which was included in the FSA Audit report
  under the section “Servicer Response,” conceded that some calls were improperly
  handled due to, among other things, “in some limited instances agents offered
  forbearance when probing for IDR would have been a better approach . . . .”




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        96.    On March 26, 2017, two days after the FSA completed its audit,
  Chivavibul resigned from his position as CFO at Navient.

  F.    Despite Its Ongoing Consumer Violations, Navient Categorically Denied
        the Forbearance Scheme and Concealed the FSA Audit.
        97.    During the Class Period, Navient denied any culpability and continued
  to conceal the imminent regulatory risk it faced as a result of its illicit loan servicing
  practices.
                            Press Release – January 18, 2017
        98.    On January 18, 2017, Navient issued three press releases in response to
  the CFPB complaint and Illinois and Washington State Attorneys General
  complaints. The first press release, titled “Navient says politically driven lawsuit
  from Illinois Attorney General is unfounded,” stated in pertinent part as follows:

         WILMINGTON, Del., Jan. 18, 2017 (GLOBE NEWSWIRE) --
         Navient, the nation’s leading loan management, servicing and asset
         recovery company, today issued the following statement on legal
         action filed against it today:

         The allegations of the Illinois Attorney General and Consumer
         Financial Protection Bureau are unfounded, and the timing of these
         lawsuits—midnight action filed on the eve of a new administration—
         reflects their political motivations. Navient welcomes clear and well-
         designed guidelines that all parties can follow, and we had hoped our
         extensive engagement with the regulators would achieve this
         objective. Instead, the suits improperly seek to impose penalties on
         Navient based on new servicing standards applied retroactively and
         applied only against one servicer. The regulator-asserted standards are
         inconsistent with Department of Education regulations, and will harm
         student loan borrowers, including through higher defaults.

         Navient has a well-established, superior track-record of helping
         student loan borrowers succeed in repayment.




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         49 percent of loan balances serviced by Navient for the federal
          government are enrolled in income-driven repayment plans.
          Assertions that we do not educate borrowers about IDR plans
          ignore the facts.

         Navient is a leader in advancing policy recommendations to
          streamline enrollment and reenrollment in income-driven plans—
          reforms which we believe would make a meaningful difference for
          millions of Americans with student loans.

         Federal borrowers serviced by Navient are 31 percent less likely to
          default than their peers at other servicers. Private loan delinquencies
          and defaults are at among historic lows.

         In 2009, Navient pioneered the first private education loan
          modification program. The program was designed to help customers
          stay current on their loans and, unlike federal program solutions,
          make progress on repaying their principal balance. Today, more
          than $2 billion in loan balances are enrolled in these programs.

        Navient has a responsibility to its customers, shareholders, and
        employees to defend itself—publicly and in court—against this
        unsubstantiated, unjustified and politically driven action. We cannot
        and will not accept agenda-driven ultimatums designed to get headlines
        rather than help for student borrowers. We will vigorously defend
        against these false allegations and continue to help our customers
        achieve financial success.

        99.    The press release in response to the CFPB Complaint, titled “Navient
  rejects the CFPB ultimatum to settle by Inauguration Day or be sued,” was
  substantially similar. In pertinent part, the press release stated as follows:

        WILMINGTON, Del., Jan. 18, 2017 (GLOBE NEWSWIRE) --
        Navient, the nation's leading loan management, servicing and asset
        recovery company, today issued the following statement on legal action
        filed against it today:

        The allegations of the Consumer Financial Protection Bureau are
        unfounded, and the timing of this lawsuit—midnight action filed on the
        eve of a new administration—reflects their political motivations.

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        Navient welcomes clear and well-designed guidelines that all parties
        can follow, and we had hoped our extensive engagement with the
        regulators would achieve this objective. Instead, the suit improperly
        seeks to impose penalties on Navient based on new servicing standards
        applied retroactively and applied only against one servicer. The
        regulator-asserted standards are inconsistent with Department of
        Education regulations, and will harm student loan borrowers, including
        through higher defaults.

        Navient has a well-established, superior track-record of helping student
        loan borrowers succeed in repayment.

         49 percent of loan balances serviced by Navient for the federal
          government are enrolled in income-driven repayment plans.
          Assertions that we do not educate borrowers about IDR plans
          ignore the facts.

         Navient is a leader in advancing policy recommendations to
          streamline enrollment and reenrollment in income-driven plans—
          reforms which we believe would make a meaningful difference for
          millions of Americans with student loans.

         Federal borrowers serviced by Navient are 31 percent less likely to
          default than their peers at other servicers. Private loan delinquencies
          and defaults are at among historic lows.

         In 2009, Navient pioneered the first private education loan
          modification program. The program was designed to help customers
          stay current on their loans and, unlike federal program solutions,
          make progress on repaying their principal balance. Today, more
          than $2 billion in loan balances are enrolled in these programs.

        Navient has a responsibility to its customers, shareholders, and
        employees to defend itself—publicly and in court—against this
        unsubstantiated, unjustified and politically driven action. We cannot
        and will not accept agenda-driven ultimatums designed to get headlines
        rather than help for student borrowers. We will vigorously defend
        against these false allegations and continue to help our customers
        achieve financial success.




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        100. The third press release, titled “Navient says lawsuit from Washington
  Attorney General is unfounded,” stated in pertinent part as follows:

         WILMINGTON, Del., Jan. 18, 2017 (GLOBE NEWSWIRE) --
         Navient, the nation’s leading loan management, servicing and asset
         recovery company, today issued the following statement on legal
         action filed against it today:

         The allegations of the Washington Attorney General, Illinois
         Attorney General and Consumer Financial Protection Bureau are
         unfounded, and the timing of these lawsuits—midnight action filed on
         the eve of a new administration—reflects their political motivations.
         Navient welcomes clear and well-designed guidelines that all parties
         can follow, and we had hoped our extensive engagement with the
         regulators would achieve this objective. Instead, the suits improperly
         seek to impose penalties on Navient based on new servicing standards
         applied retroactively and applied only against one servicer. The
         regulator-asserted standards are inconsistent with Department of
         Education regulations, and will harm student loan borrowers,
         including through higher defaults.

         Navient has a well-established, superior track-record of helping
         student loan borrowers succeed in repayment.

         49 percent of loan balances serviced by Navient for the federal
          government are enrolled in income-driven repayment plans.
          Assertions that we do not educate borrowers about IDR plans
          ignore the facts.

         Navient is a leader in advancing policy recommendations to
          streamline enrollment and reenrollment in income-driven plans—
          reforms which we believe would make a meaningful difference for
          millions of Americans with student loans.

         Federal borrowers serviced by Navient are 31 percent less likely to
          default than their peers at other servicers. Private loan delinquencies
          and defaults are at among historic lows.

         In 2009, Navient pioneered the first private education loan
          modification program. The program was designed to help customers


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           stay current on their loans and, unlike federal program solutions,
           make progress on repaying their principal balance. Today, more
           than $2 billion in loan balances are enrolled in these programs.

        Navient has a responsibility to its customers, shareholders, and
        employees to defend itself—publicly and in court—against this
        unsubstantiated, unjustified and politically driven action. We cannot
        and will not accept agenda-driven ultimatums designed to get headlines
        rather than help for student borrowers. We will vigorously defend
        against these false allegations and continue to help our customers
        achieve financial success.

        101. The statements identified above in emphasis in each of the press
  releases in paragraphs 98 to 100 were false and materially misleading. Contrary to
  Navient’s statement that the allegations were categorically “unfounded” and “false,”
  Navient was in fact engaging in a scheme whereby it was placing borrowers into
  forbearance to their detriment. Evidence since disclosed from the CFPB’s lawsuit,
  including interviews with borrowers, testimony from Navient employees, and “flow
  charts” used by customer service representatives, show that Navient was
  intentionally steering borrowers away from IDR plans and into forbearance for years
  in order to minimize operating costs. In addition, as CW1 described, Navient loan
  specialists only offered an IDR plan if a borrower had first declined forbearance, a
  graduated payment plan, or an extended payment plan, which resulted in Navient
  not “educating borrowers about IDR plans.” The results of the FSA Audit show that
  in 220 of 2,388 randomly selected phone calls to borrowers from 2014 through 2017,
  Navient offered forbearance as the only option. These facts show that the allegations
  in the CFPB and States AG Complaints were not “unfounded” or “false” without
  exception and, therefore, demonstrate that the statements in Navient’s press releases
  were false and materially misleading.




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                     Washington Post Article – January 23, 2017
        102. On January 23, 2017, in response to the CFPB and States AG
  Complaints, Remondi participated in an interview with Danielle Douglas-Gabriel of
  The Washington Post. His statements were published in an article entitled, “Navient
  CEO Jack Remondi: CFPB is more interested in filing lawsuits than fixing student
  loan servicing.” During the interview, Remondi again categorically denied the
  allegations in the complaints. In pertinent part, Remondi stated:

        They make the claim that somehow we are economically better off by
        having borrowers default, by having borrowers in forbearance, it is
        completely false. The highest revenue we get from the Department of
        Education under our contract is a borrower who is current, which is
        more likely to happen for a struggling borrower if they are in an
        income-driven repayment plan. It’s 180 percent higher revenue if the
        borrower is current than if the borrower is in forbearance. It’s just false
        narrative, and really doesn’t show a lot of appreciation for how a
        servicing operation works.
        103. The statements identified in paragraph 102 above in emphasis were
  false and materially misleading. Contrary to Navient’s statement about placing
  “borrowers in forbearance” were “completely false,” Navient was in fact doing just
  that. Evidence since disclosed from the CFPB’s lawsuit, including interviews with
  borrowers, testimony from Navient employees, and “flow charts” used by customer
  service representatives, show that Navient was intentionally steering borrowers
  away from IDR plans and into forbearance for years in order to minimize operating
  costs. In addition, as CW1 described, Navient loan specialists only offered an IDR
  plan if a borrower had first declined forbearance, a graduated payment plan, or an
  extended payment plan. The results of the FSA Audit show that in 220 of 2,388
  randomly selected phone calls to borrowers from 2014 through 2017, Navient
  offered forbearance as the only option. These facts show that the forbearance scheme
  allegations against Navient were not “completely false” without exception and,


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  therefore, demonstrate that Remondi’s statements were false and materially
  misleading.
                          Annual Report – February 24, 2017
        104. On February 24, 2017, Navient issued its 2016 10-K. Remondi and
  Chivavibul signed the 2016 10-K.
        105. In the 2016 10-K, Defendants Navient, Remondi, and Chivavibul
  discussed the company’s loan servicing practices and, in particular, the company’s
  practices regarding forbearance in a materially misleading manner. In pertinent part,
  the 2016 10-K stated as follows:
            Getting borrowers into the right payment plans: We help
            customers understand the complex array of federal loan
            repayment options so they can make informed choices about the
            plans that are aligned with their financial circumstances and
            goals. We promote awareness of federal repayment plan options,
            including Income-Driven Repayment (“IDR”) . . . We also help
            borrowers understand that options lengthening their repayment
            term may increase the total cost of their loans, while reminding
            them that they may pay extra or switch repayment plans at any
            time.
         Forbearance involves granting the customer a temporary cessation
          of payments (or temporary acceptance of smaller than scheduled
          payments) for a specified period of time. . . . Our forbearance
          policies include limits on the number of forbearance months
          granted consecutively and the total number of forbearance months
          granted over the life of the loan. . . Forbearance as a recovery tool
          is used most effectively when applied based on a customer’s
          unique situation, including historical information and judgments.

        106. The statements identified in paragraph 105 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the
  customer’s unique situation, with limited use of forbearance. In reality, Navient was


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  using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Both CW1 and CW2 indicated
  that Navient used forbearance liberally and repeatedly, and generally as the only
  option for borrowers. For these reasons, the 2016 10-K affirmatively misstated
  Navient’s policies and practices towards forbearance.
           Navient Response Statement to Bloomberg Article – April 4, 2017
        107. On April 3, 2017, Bloomberg.com published an article entitled “Student
  Debt Giant Navient to Borrowers: You’re on Your Own” by Shahien Nasiripour,
  which, among other things, noted that, “Jack Remondi, chief executive of student
  loan giant Navient Corp., has gone out of his way to tout the company’s devotion to
  helping Americans cope with student debt. He’s mentioned it in meetings with
  investors, on calls with Wall Street analysts, in testimony before Congress, and even
  on his Medium blog.”
        108. The article contrasted Navient’s public image with the allegations of
  the CFPB Complaint, stating that Remondi “sang a different tune in court filings.”
  The article stated that, “[b]orrowers can’t reasonably rely on America’s largest

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  student loan servicer to counsel them about their many options, Navient said on
  March 24 in a motion to dismiss the case, because its primary role is, after all, to
  collect their payments. ‘There is no expectation that the servicer will act in the
  interest of the consumer,’ Navient said in response to the litigation filed Jan. 18 by
  the U.S. Consumer Financial Protection Bureau.”
        109. In response, Navient released a statement on its website, stating, in
  relevant part, “Readers of an April 3 Bloomberg story on Navient received a
  distorted, inaccurate picture of Navient’s legal arguments and performance. Picking
  a single phrase out of a technical legal brief may make for sensational headlines but
  ignoring the results we deliver is a disservice to borrowers and the public . . .
  Statements that Navient does not inform borrowers of their array of repayment
  options are patently false.”
        110. The statements identified in paragraph 109 above in emphasis were
  false and materially misleading because they unequivocally and categorically denied
  the existence of the forbearance scheme. In reality, it was true that Navient did not
  inform borrowers of their array of repayment options and, instead, maintained and
  enforced a practice of placing borrowers into forbearance arrangements, when IDR
  plans would have been more suitable, for the benefit of Navient. Evidence from the
  CFPB’s lawsuit, including interviews with borrowers, testimony from Navient
  employees, and “flow charts” used by customer service representatives, show that
  Navient was intentionally steering borrowers away from IDR plans and into
  forbearance for years in order to minimize operating costs. As CW1 described,
  Navient loan specialists were instructed by management to only offer an IDR plan
  if a borrower had first declined forbearance, a graduated payment plan, or an
  extended payment plan. Moreover, the results of the FSA Audit show that in 220 of
  2,388 randomly selected phone calls to borrowers from 2014 through 2017,
  borrowers were offered forbearance as the only option. These facts show that

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  Navient materially misled the public by categorically denying accusations
  concerning the company’s forbearance practices, as it did here by referring to them
  as “patently false.”
                            Quarterly Report – April 27, 2017
          111. On April 27, 2017, Navient issued its quarterly report for the first
  quarter of 2017 on Form 10-Q (the “1Q17 10-Q”). Defendant Lown signed the 1Q17
  10-Q.
          112. In the 1Q17 10-Q, Defendants Navient, Remondi, and Lown discussed
  the company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 1Q17
  10-Q stated as follows:
           Getting borrowers into the right payment plans: We help
            customers understand the complex array of federal loan
            repayment options so they can make informed choices about the
            plans that are aligned with their financial circumstances and
            goals. We promote awareness of federal repayment plan options,
            including Income-Driven Repayment (“IDR”) . . . We also help
            borrowers understand that options lengthening their repayment
            term may increase the total cost of their loans, while reminding
            them that they may pay extra or switch repayment plans at any
            time.
           Forbearance involves granting the customer a temporary cessation
            of payments (or temporary acceptance of smaller than scheduled
            payments) for a specified period of time. . . . Our forbearance
            policies include limits on the number of forbearance months
            granted consecutively and the total number of forbearance months
            granted over the life of the loan. . . Forbearance as a recovery tool
            is used most effectively when applied based on a customer’s
            unique situation, including historical information and judgments.
          113. The statements identified in paragraph 112 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the


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  customer’s unique situation, with limited use of forbearance. In reality, Navient was
  using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Both CW1 and CW2 indicated
  that Navient used forbearance liberally and repeatedly, and generally as the only
  option for borrowers. For these reasons, the 1Q17 10-Q affirmatively misstated
  Navient’s policies and practices towards forbearance.
        114. The 1Q17 10-Q was also false and materially misleading because it
  concealed the fact that Navient had just been audited by the FSA in response to the
  CFPB’s allegations concerning the company’s forbearance practices. Item 103 of
  Regulation S-K required Navient to disclose “material pending legal proceedings”
  and to provide “a description of the factual basis” underlying the proceeding. Instead
  of disclosing the FSA Audit, Navient disclosed the following in the 1Q17 10-Q:

        In addition, Navient and its subsidiaries are subject to examination or
        regulation by the SEC, CFPB, FDIC, [Department of Education] and
        various state agencies as part of its ordinary course of business. Items
        or matters similar to or different from those described above may arise
        during the course of those examinations. We also routinely receive


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           inquiries or requests from various regulatory entities or bodies or
           government agencies concerning our business or our assets. The
           Company endeavors to cooperate with each such inquiry or request.

           115. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 1Q17 10-Q was misleading because it did not disclose the FSA
  Audit.
                            Quarterly Report – August 1, 2017
           116. On August 1, 2017, Navient issued its quarterly report for the second
  quarter of 2017 on Form 10-Q (the “2Q17 10-Q”). Remondi and Lown signed the
  2Q17 10-Q.
           117. In the 2Q17 10-Q, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 2Q17
  10-Q stated as follows:

            Getting borrowers into the right payment plans: We help customers
             understand the complex array of federal loan repayment options so
             they can make informed choices about the plans that are aligned
             with their financial circumstances and goals. We promote
             awareness of federal repayment plan options, including Income-
             Driven Repayment (“IDR”) . . . We also help borrowers understand
             that options lengthening their repayment term may increase the
             total cost of their loans, while reminding them that they may pay
             extra or switch repayment plans at any time.


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         Forbearance involves granting the customer a temporary cessation
          of payments (or temporary acceptance of smaller than scheduled
          payments) for a specified period of time. . . . Our forbearance
          policies include limits on the number of forbearance months
          granted consecutively and the total number of forbearance months
          granted over the life of the loan. . . Forbearance as a recovery tool
          is used most effectively when applied based on a customer’s unique
          situation, including historical information and judgments.
        118. The statements identified in paragraph 117 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the
  customer’s unique situation, with limited use of forbearance. In reality, Navient was
  using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. On May 18, 2017, Navient had
  received the FSA audit report which verified that in almost one out of ten calls,
  Navient offered borrowers the option of forbearance as the only option. In several
  instances where only forbearance was offered, “this occurred after the borrower
  made a promise to pay within a short time of the call – usually within a time frame


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  that would cause no additional detriment to the borrower. . . . [T]hese borrowers
  were not given the opportunity to decide if another option (like one of the Income
  Driven plans or a deferment) would have been more favorable. And in some
  instances, interest was capitalized when another option may have prevented it.” The
  FSA Audit also included a review of servicing histories by examining borrower files
  stored in Navient’s CLASS system. The FSA Audit showed that Navient offered
  borrowers only forbearance in 20% of the samples. Further, both CW1 and CW2
  indicated that Navient used forbearance liberally and repeatedly, and generally as
  the only option for borrowers. For these reasons, the 2Q17 10-Q affirmatively
  misstated Navient’s policies and practices towards forbearance.
        119. The 2Q17 10-Q was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the
  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 2Q17 10-Q:

        In addition, Navient and its subsidiaries are subject to examination or
        regulation by the SEC, CFPB, FDIC, [Department of Education] and
        various state agencies as part of its ordinary course of business. Items
        or matters similar to or different from those described above may arise
        during the course of those examinations. We also routinely receive
        inquiries or requests from various regulatory entities or bodies or
        government agencies concerning our business or our assets. The
        Company endeavors to cooperate with each such inquiry or request.

        120. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB



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  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 2Q17 10-Q was misleading because it did not disclose the FSA
  Audit.
                           PA AG Complaint – October 5, 2017
           121. On October 5, 2017, PA AG Josh Shapiro announced the filing of a
  lawsuit in United States District Court for the Middle District of Pennsylvania
  against Navient and one of its subsidiaries for engaging in unfair and deceptive
  lending and failed to offer proper prepayment plans to student. The lawsuit was
  styled as Commonwealth of Pennsylvania, By Attorney General Josh Shapiro v.
  Navient Corporation and Navient Solutions, LLC, Case No. 3:17-cv-01814.
           122. The PA AG Complaint alleged that Navient violated state and federal
  law by failing to inform borrowers who were experiencing long-term financial
  hardship of more favorable loan payment options available under an IDR plan and
  instead pushed borrowers into forbearance in an effort to cut costs and maximize
  profit which caused, or was likely to cause, substantial financial harm to the
  borrower.
           123. Unlike the CFPB Complaints and the States AG Complaints which
  focused on Navient’s servicing practices prior to the Class Period, the PA AG
  Complaint addressed conduct by NAVI as recent as early-2017. Specifically, the PA
  AG Complaint alleges that:

           109. Nevertheless, since at least July 2011, despite publicly assuring
           borrowers that it will help them identify and enroll in an appropriate,
           affordable repayment plan, Defendants have routinely disregarded that
           commitment and instead steered borrowers experiencing long-term
           financial hardship into forbearance.


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        180. As described above, while engaging in trade or commerce within
        the Commonwealth through steering borrowers suffering long-term
        financial hardship into forbearance, Defendants:

           a. Misrepresented, either expressly or by implication, the suitability
              of certain federal loan repayment options for borrowers
              struggling with their payments;

           b. In phone calls, failed to meaningfully disclose to borrowers
              struggling to make their payments that the federal government
              offers IDR plans to help borrowers avoid default;

           c. Misrepresented that Defendants would “work with” borrowers
              struggling to pay their loans, “help [borrowers] make the right
              decision for [their] situation”; and “help [borrowers] by
              identifying options and solutions, so [borrowers] can make the
              right decision for [their] situation” when, in fact, Defendants in
              many instances did not do so; and

           d. Continuously offered forbearances to borrowers who
              demonstrated a long-term inability to repay, when in fact
              forbearance is intended for a temporary hardship.
        124. In connection with filing the case, on October 5, 2017, PA AG Josh
  Shapiro released a statement stating, “Navient’s deceptive practices and predatory
  conduct harmed student borrowers and put their own profits ahead of the interests of
  millions of families across our country who are struggling to repay student loans.”
  PA AG Shapiro also appeared on CNBC’s “Power Lunch” program on October 5,
  2017, to give an in-depth interview concerning the allegations being leveled against
  Navient. “Power Lunch” is a daily, two hour-long television program that focuses
  exclusively on issues related to the stock market. It often features interviews with
  chief executive officers and other high-level executives as well as stock market
  analysts and investment bankers. The program, on average, is viewed by tens of
  thousands of viewers each day.


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        125. PA AG Shapiro emphasized the harm being done by Navient to student
  borrowers. During the interview, PA AG Shapiro said:

        I could care less about their [Navient’s] stock prices, I care about
        student loan holders in the Commonwealth of Pennsylvania and across
        the United States who have been victimized by widespread abuse from
        Navient, the largest student loan lender across our country with a big
        presence here in Pennsylvania. But one where we have seen students
        preyed upon, we have seen schemes from Navient that have cost
        billions of dollars that have been taken out of the pockets of students
        . . . the facts will clearly show that their widespread abuse has had an1
        effect, a negative effect, on student loan holders across this country…

        ...

        We want to change corporate behavior, we want to make sure the scales
        are tipped in favor of students, in favor of those who hold the loans.

         ...

        There are so many abuses, but here is one that is particularly horrible
        when it comes to these student loan holders. Navient had a program
        where you could actually repay your student loan based on your
        earnings, right? And instead of steering these student loan holders
        towards that, they instead put them in a risky scheme where they
        jacked up the interest rates, and ultimately that scheme costs student
        loan holders four billion dollars. That is four billion dollars that they
        should never have had to pay in the first place, but because of this
        marketing practice – because they directed people that way- these
        student loan holders were left paying four billion dollars more than
        they needed to. There are so many abusive practices- there’s
        widespread abuse- that one is particularly egregious.

        126. Numerous local and international media outlets reported on the PA AG
  Complaint on October 5, 2017, including Philadelphia’s The Inquirer, The
  Philadelphia Business Journal, U.S. News & World Report, ABC News, The




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  Washington Post, Nasdaq.com, and Bloomberg. In each instance, reports focused
  squarely on Navient’s widespread abuses in the student loan servicing business.
        127. The PA AG Complaint led investors to question whether and to what
  extent Remondi had been telling the truth when denying the CFPB and States AG
  Complaints’ allegations regarding Navient’s forbearance practices. In addition to
  addressing Navient’s more recent servicing practices, the PA AG Complaint
  contained additional detail about Navient’s forbearance practices. Indeed, CFRA
  Equity Analyst Scott Kessler wrote in his October 11, 2017 report of Navient, “We
  also note an October 2017 lawsuit filed by the Pennsylvania Attorney General with
  what we see as more expansive accusations” (emphasis added).
        128. In response to the announcements about the PA AG Complaint, on
  October 5, 2017, Navient’s stock price closed at $12.60 per share on unusually heavy
  volume, down $2.10 or 14% from the October 4, 2017 close of $14.70. Barrons.com
  reported after market close on October 5, 2017 that Navient’s market capitalization
  fell to $3.5 billion from $4 billion the prior day. The significant decline in Navient’s
  stock price was caused directly by the introduction of company-specific news about
  Navient’s servicing practices into the market place which corrected, in part, its
  categorical denials of wrongdoing.
            Navient’s Response to the PA AG Complaint – October 5, 2017
        129. On October 5, 2017, in response to the PA AG Complaint, Navient
  attempted to minimize the harm done by the disclosure of the PA AG Complaint by
  repeating its misleading statements that the allegations were unfounded and issuing
  the following statement in the Globe Newswire:

        The allegations are completely unfounded and the case was filed
        without any review of Pennsylvania residents’ customer accounts. We
        comply with the rules that govern the student loan program as set
        by Congress and the U.S. Department of Education, and there are no
        allegations that we have violated these rules. Navient is a leader in


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        helping student loan borrowers succeed; in fact, 49 percent of balances
        serviced by Navient for the government are enrolled in income-driven
        repayment plans and Navient-serviced borrowers are 37 percent less
        likely to default than those serviced by others. We will vigorously
        defend our record in court, and are confident we will prevail following
        an impartial review of the facts. In the meantime, we will continue to
        provide industry-leading service to our customers.
        130. The statements identified in paragraph 129 above in emphasis were
  false and materially misleading because they categorically denied the factual basis
  of the PA AG Complaint and absolutely assured investors that there was no
  forbearance scheme. By stating that the allegations were “unfounded,” Navient
  represented that it was not placing borrowers into forbearance against their interest.
  This was not true. In reality, Navient maintained and enforced a practice of placing
  borrowers into forbearance arrangements, when IDR plans would have been more
  suitable, for the benefit of Navient. Evidence from the CFPB’s lawsuit, including
  interviews with borrowers, testimony from Navient employees, and “flow charts”
  used by customer service representatives, show that Navient was intentionally
  steering borrowers away from IDR plans and into forbearance for years in order to
  minimize operating costs. As CW1 described, Navient loan specialists were
  instructed by management to only offer an IDR plan if a borrower had first declined
  forbearance, a graduated payment plan, or an extended payment plan. Moreover, the
  results of the FSA Audit show that in 220 of 2,388 randomly selected phone calls to
  borrowers from 2014 through 2017, borrowers were offered forbearance as the only
  option. Navient, who had already responded to the FSA Audit by this point, had even
  admitted to the FSA that had improperly handled a number of calls by placing
  borrowers into forbearance. These facts show that Navient materially misled the
  public by categorically denying accusations concerning the company’s forbearance
  practices, as it did here by referring to them as “completely unfounded.”




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                   Third Quarter Earnings Call – October 18, 2017
        131. Remondi again falsely denied the allegations of illicit servicing without
  exception on October 18, 2017. During an investor conference call, Remondi
  discussed the company’s third quarter earnings for 2017. Remondi also addressed
  the recently-filed PA AG Complaint:

        Earlier this month, the Department of Education released the results of
        the 2014 3-year cohort default rate. While the national rate increased,
        the rate for Navient-serviced loans declined. Navient-serviced
        borrowers were 37% less likely to default than borrowers serviced by
        other organizations. We also continue to be a leader in enrolling federal
        student loan borrowers in alternative payment programs like income-
        based repayment. In fact, 53% of the loan balances serviced by Navient
        for the Department of Education are enrolled in income-driven
        repayment programs, more than any other servicer.

        This is all good news. Yet, despite our consistent industry-leading
        performance in assisting federal student loan borrowers, the baseless,
        politically-driven accusations have continued. I’d like to take a few
        moments to discuss one such example, the recent lawsuit brought by
        the Pennsylvania Attorney General. The Attorney General asserts that
        he brought charges after an extensive investigation, but no one from his
        office has ever stepped foot in one of our centers or requested
        information on Pennsylvania borrower accounts. Instead, they simply
        copied the lawsuit filed by another state.

        He claims to have received thousands of complaints from Pennsylvania
        residents when, in fact, 53 Navient-serviced borrowers requested
        assistance from his office in the last year, and 49 of them reflected
        disagreement with federal policy or a term of the loan, not a concern
        regarding our servicing. He claims we steered borrowers into schemes
        where we “jacked up their interest rates.” Yet, federal student loan
        interest rates are set by Congress and are fixed and are never changed
        by the servicer. And once again, there is no claim that we violated the
        terms of the Higher Education Act or our servicing contract. We’ve
        done a cursory review which showed that there is a stark chasm
        between reality and these unfounded claims, and of course, our


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        industry-leading performance statistics         stand    as   a   factual
        contradiction to these accusations.

        Perpetuating baseless allegations for political gain does nothing to
        assist borrowers towards successful repayment. In fact, it’s more likely
        to harm borrowers by directing attention away from the true issues that
        are causing student loan defaults: a lack of adequate upfront education,
        an overly complex repayment system and the serious financial
        consequences of dropping out before graduating or not responding to
        servicer outreach. We should be focusing on addressing these issues.

        The federal loan programs are complex, too complex. Ironically, the
        solution promoted by many would increase this complexity. Struggling
        borrowers have difficulty navigating today’s complex set of rules and
        need help to understand their options so they can make the best choice
        given their circumstances. Year after year, we demonstrate that when
        we speak with a struggling federal loan borrower, over 9s and 10, we
        help them select a solution that keeps them out of default. This is what
        we do, and it’s why our customers default at a 37% lower rate. In the
        meantime, our repeated request that regulators encourage struggling
        borrowers to contact their servicer goes unanswered.

        It may be -- it may appear to be politically beneficial to make claims of
        widespread abuse, but the facts will rise to the surface and I’m confident
        that the facts will be heard and the extraordinary results delivered by
        Team Navient will defeat this politically-driven campaign.
        132. The statements identified in paragraph 131 above in emphasis were
  false and materially misleading because they stated that the allegations against
  Navient were “baseless,” “unfounded,” and merely “politically-driven accusations.”
  Contrary to Defendants’ categorical and absolute denials, Navient was placing
  borrowers into forbearance arrangements when IDR plans would have been more
  suitable. Navient maintained and enforced a practice of placing borrowers into
  forbearance arrangements, when IDR plans would have been more suitable, for the
  benefit of Navient. Evidence from the CFPB’s lawsuit, including interviews with
  borrowers, testimony from Navient employees, and “flow charts” used by customer


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  service representatives, show that Navient was intentionally steering borrowers
  away from IDR plans and into forbearance for years in order to minimize operating
  costs. As CW1 described, Navient loan specialists were instructed by management
  to only offer an IDR plan if a borrower had first declined forbearance, a graduated
  payment plan, or an extended payment plan. Moreover, the results of the FSA Audit
  show that in 220 of 2,388 randomly selected phone calls to borrowers from 2014
  through 2017, borrowers were offered forbearance as the only option. Navient, who
  had already responded to the FSA Audit by this point, had even admitted to the FSA
  that had improperly handled a number of calls by placing borrowers into
  forbearance. These facts show that Navient materially misled the public by
  categorically denying accusations concerning the company’s forbearance practices,
  as it did here by referring to them as “baseless” and “unfounded.”
                         Quarterly Report – October 27, 2017
        133. On October 27, 2017, Navient issued its quarterly report for the third
  quarter of 2017 on Form 10-Q (the “3Q17 10-Q”). Remondi and Lown signed the
  3Q17 10-Q.
        134. In the 3Q17 10-Q, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 3Q17
  10-Q stated as follows:
         Getting borrowers into the right payment plans: We help customers
          understand the complex array of federal loan repayment options so
          they can make informed choices about the plans that are aligned
          with their financial circumstances and goals. We promote
          awareness of federal repayment plan options, including Income-
          Driven Repayment (“IDR”) . . . We also help borrowers understand
          that options lengthening their repayment term may increase the
          total cost of their loans, while reminding them that they may pay
          extra or switch repayment plans at any time.


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         Forbearance involves granting the customer a temporary cessation
          of payments (or temporary acceptance of smaller than scheduled
          payments) for a specified period of time. . . . Our forbearance
          policies include limits on the number of forbearance months
          granted consecutively and the total number of forbearance months
          granted over the life of the loan. . . Forbearance as a recovery tool
          is used most effectively when applied based on a customer’s unique
          situation, including historical information and judgments.
        135. The statements identified in paragraph 134 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the
  customer’s unique situation, with limited use of forbearance. In reality, Navient was
  using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Moreover, the results of the
  FSA Audit show that in 220 of 2,388 randomly selected phone calls to borrowers
  from 2014 through 2017, borrowers were offered forbearance as the only option.
  Navient, who had already responded to the FSA Audit by this point, had even
  admitted to the FSA that had improperly handled a number of calls by placing


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  borrowers into forbearance. Both CW1 and CW2 indicated that Navient used
  forbearance liberally and repeatedly, and generally as the only option for borrowers.
  For these reasons, the 3Q17 10-Q affirmatively misstated Navient’s policies and
  practices towards forbearance.
        136. The 3Q17 10-Q was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the
  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 3Q17 10-Q:

        In addition, Navient and its subsidiaries are subject to examination or
        regulation by the SEC, CFPB, FDIC, [Department of Education] and
        various state agencies as part of its ordinary course of business. Items
        or matters similar to or different from those described above may arise
        during the course of those examinations. We also routinely receive
        inquiries or requests from various regulatory entities or bodies or
        government agencies concerning our business or our assets. The
        Company endeavors to cooperate with each such inquiry or request.

        137. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants categorically denied any factual basis for the allegations in
  the CFPB Complaint. Had Defendants disclosed the FSA Audit, investors would
  have been less likely to believe their categorical denials and better able to assess the
  regulatory risk associated with their investments in Navient. For these reasons, the
  3Q17 10-Q was misleading because it did not disclose the FSA Audit.




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                  Fourth Quarter Earnings Call – January 24, 2018
        138. Remondi hosted an investor conference all on behalf of Naveint on
  January 24, 2018. The purpose of the call was to discuss Navient’s fourth quarter
  and year end results for 2017. During the call, Remondi addressed CFPB and States
  AG Complaints, once again providing categorical denials of any wrongdoing
  concerning Navient’s forbearance practices:

        While 2017 started with the challenge of the CFPB and Attorney
        General lawsuits, I’m particularly proud that our team did not let these
        unsubstantiated claims distract us from executing our business plan.
        For example, in 2017, we continued to deliver exceptional service to
        our student loan clients, customers, outperforming the industry and
        student loan delinquency and default rates, in fact, 37% better;
        delivering high levels of income-driven repayment enrollment with
        more than half of loan balances serviced for the government enrolled in
        IDR; and we piloted numerous initiatives to improve customer
        outcomes by making it easier for borrowers to navigate the complexity
        of the federal student loan programs.
        139. The statements identified in paragraph 138 above in emphasis were
  false and materially misleading because they stated that the allegations against
  Navient were “unsubstantiated.” Contrary to Defendants’ categorical and absolute
  denials, Navient was placing borrowers into forbearance arrangements when IDR
  plans would have been more suitable. Navient maintained and enforced a practice of
  placing borrowers into forbearance arrangements, when IDR plans would have been
  more suitable, for the benefit of Navient. Evidence from the CFPB’s lawsuit,
  including interviews with borrowers, testimony from Navient employees, and “flow
  charts” used by customer service representatives, show that Navient was
  intentionally steering borrowers away from IDR plans and into forbearance for years
  in order to minimize operating costs. As CW1 described, Navient loan specialists
  were instructed by management to only offer an IDR plan if a borrower had first
  declined forbearance, a graduated payment plan, or an extended payment plan.


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  Moreover, the results of the FSA Audit show that in 220 of 2,388 randomly selected
  phone calls to borrowers from 2014 through 2017, borrowers were offered
  forbearance as the only option. Navient, who had already responded to the FSA
  Audit by this point, had even admitted to the FSA that had improperly handled a
  number of calls by placing borrowers into forbearance. These facts show that
  Navient materially misled the public by categorically denying accusations
  concerning the company’s forbearance practices, as it did here by referring to them
  as “unsubstantiated.”
                            Annual Report – February 26, 2018
        140. On February 26, 2018, Navient issued its annual report for 2017 on
  Form 10-K (the “2017 10-K”). Remondi and Lown signed the 2017 Form 10-K.
        141. In the 2017 10-K, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 2017
  10-K stated as follows:

        Getting borrowers into the right payment plans: We help customers
        understand the complex array of federal loan repayment options so
        they can make informed choices about the plans that are aligned with
        their financial circumstances and goals. We promote awareness of
        federal repayment plan options, including Income-Driven Repayment
        (“IDR”) . . . We also help borrowers understand that options
        lengthening their repayment term may increase the total cost of their
        loans, while reminding them that they may pay extra or switch
        repayment plans at any time.

        Forbearance involves granting the customer a temporary cessation of
        payments (or temporary acceptance of smaller than scheduled
        payments) for a specified period of time. . . . Our forbearance policies
        include limits on the number of forbearance months granted
        consecutively and the total number of forbearance months granted
        over the life of the loan. . . Forbearance as a recovery tool is used most


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        effectively when applied based on a customer’s unique situation,
        including historical information and judgments.

        142. The statements identified above in paragraph 141 above in emphasis
  were materially false and misleading because they falsely stated that Navient was
  helping borrowers to be put in the best program to avoid default, that was based on
  the customer’s unique situation, with limited use of forbearance. In reality, Navient
  was using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Moreover, the results of the
  FSA Audit show that in 220 of 2,388 randomly selected phone calls to borrowers
  from 2014 through 2017, borrowers were offered forbearance as the only option.
  Navient, who had already responded to the FSA Audit by this point, had even
  admitted to the FSA that had improperly handled a number of calls by placing
  borrowers into forbearance. Both CW1 and CW2 indicated that Navient used
  forbearance liberally and repeatedly, and generally as the only option for borrowers.




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  For these reasons, the 2017 10-K affirmatively misstated Navient’s policies and
  practices towards forbearance.
           143. The 2017 10-K was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the
  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 2017 10-K:

           In addition, Navient and its subsidiaries are subject to examination or
           regulation by the SEC, CFPB, FFIEC, [Department of Education] and
           various state agencies as part of its ordinary course of business. Items
           or matters similar to or different from those described above may arise
           during the course of those examinations. We also routinely receive
           inquiries or requests from various regulatory entities or bodies or
           government agencies concerning our business or our assets. Generally,
           the Company endeavors to cooperate with each such inquiry or request.

           144. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 2017 10-K was misleading because it did not disclose the FSA
  Audit.




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                            Quarterly Report – May 3, 2018
        145. On May 3, 2018, Navient issued its quarterly report for the first quarter
  of 2018 on Form 10-Q (the “1Q18 10-Q”). Remondi and Lown signed the 1Q18 10-
  Q.
        146. In the 1Q18 10-Q, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 1Q18
  10-Q stated as follows:

        Getting borrowers into the right payment plans: We help customers
        understand the complex array of federal loan repayment options so
        they can make informed choices about the plans that are aligned with
        their financial circumstances and goals. We promote awareness of
        federal repayment plan options, including Income-Driven Repayment
        (“IDR”) . . . We also help borrowers understand that options
        lengthening their repayment term may increase the total cost of their
        loans, while reminding them that they may pay extra or switch
        repayment plans at any time.

        Forbearance involves granting the customer a temporary cessation of
        payments (or temporary acceptance of smaller than scheduled
        payments) for a specified period of time. . . . Our forbearance policies
        include limits on the number of forbearance months granted
        consecutively and the total number of forbearance months granted
        over the life of the loan. . . Forbearance as a recovery tool is used most
        effectively when applied based on a customer’s unique situation,
        including historical information and judgments.

        147. The statements identified in paragraph 146 in emphasis were materially
  false and misleading because they falsely stated that Navient was helping borrowers
  to be put in the best program to avoid default, that was based on the customer’s
  unique situation, with limited use of forbearance. In reality, Navient was using
  forbearance as a tool to conceal delinquency and default rates, with forbearance


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  granted liberally and repeatedly to the detriment of many borrowers. Evidence from
  the CFPB’s lawsuit, including interviews with borrowers, testimony from Navient
  employees, and “flow charts” used by customer service representatives, show that
  Navient was intentionally steering borrowers away from IDR plans and into
  forbearance for years in order to minimize operating costs. Numerous borrowers
  (identified above in paragraph 70) were placed into forbearance indiscriminately and
  for the longest possible periods without regard to the borrower’s unique “financial
  circumstances and goals.” To the contrary, Navient’s strict time limits on calls and
  scripting practices steered borrowers into forbearance by precluding Navient
  employees from even having the opportunity to discuss IDR options with borrowers
  or learning of the borrowers’ unique circumstance in order to find the best plan for
  them. Moreover, the results of the FSA Audit show that in 220 of 2,388 randomly
  selected phone calls to borrowers from 2014 through 2017, borrowers were offered
  forbearance as the only option. Navient, who had already responded to the FSA
  Audit by this point, had even admitted to the FSA that had improperly handled a
  number of calls by placing borrowers into forbearance. Both CW1 and CW2
  indicated that Navient used forbearance liberally and repeatedly, and generally as
  the only option for borrowers. For these reasons, the 1Q18 10-Q affirmatively
  misstated Navient’s policies and practices towards forbearance.
        148. The 1Q18 10-Q was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the
  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 1Q18 10-Q:



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           In addition, Navient and its subsidiaries are subject to examination or
           regulation by the SEC, CFPB, FFIEC, [Department of Education] and
           various state agencies as part of its ordinary course of business. Items
           or matters similar to or different from those described above may arise
           during the course of those examinations. We also routinely receive
           inquiries or requests from various regulatory entities or bodies or
           government agencies concerning our business or our assets. Generally,
           the Company endeavors to cooperate with each such inquiry or request.

           149. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 1Q18 10-Q was misleading because it did not disclose the FSA
  Audit.
                               Press Release – June 28, 2018
           150. On June 28, 2018, the California State Attorney General filed a
  complaint against Navient with allegations similar to those of the State Attorneys
  General from Pennsylvania, Illinois, and Washington, including allegations that
  Navient violated California’s Unfair Competition and False Advertising Laws by
  steering vulnerable borrowers toward more expensive repayment plans and failing
  to adequately disclose how students could attain income-driven repayment
  recertification, with some violations dating back to as far as 2010, and many on-
  going. In connection with the complaint, California’s Attorney General, Xavier
  Becerra, said that “Navient’s loan servicing abuses have compounded the misery of
  parents and students who sacrificed to pay for college.”



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        151. Remondi replied to AG Becerra and the complaint in a June 28, 2018
  press release stating, “The allegations are unfounded, and the lawsuit is another
  attempt to blame a single servicer for the failures of the higher education system and
  the federal student loan program to deliver desired outcomes . . . The need to blame
  someone has driven these lawsuits.”
        152. The statements identified in paragraph 151 above in emphasis were
  false and materially misleading because they stated that the allegations against
  Navient were “unfounded.” Contrary to Defendants’ categorical and absolute
  denials, Navient was placing borrowers into forbearance arrangements when IDR
  plans would have been more suitable. Navient maintained and enforced a practice of
  placing borrowers into forbearance arrangements, when IDR plans would have been
  more suitable, for the benefit of Navient. Evidence from the CFPB’s lawsuit,
  including interviews with borrowers, testimony from Navient employees, and “flow
  charts” used by customer service representatives, show that Navient was
  intentionally steering borrowers away from IDR plans and into forbearance for years
  in order to minimize operating costs. As CW1 described, Navient loan specialists
  were instructed by management to only offer an IDR plan if a borrower had first
  declined forbearance, a graduated payment plan, or an extended payment plan.
  Moreover, the results of the FSA Audit show that in 220 of 2,388 randomly selected
  phone calls to borrowers from 2014 through 2017, borrowers were offered
  forbearance as the only option. Navient, who had already responded to the FSA
  Audit by this point, had even admitted to the FSA that had improperly handled a
  number of calls by placing borrowers into forbearance. These facts show that
  Navient materially misled the public by categorically denying accusations
  concerning the company’s forbearance practices, as it did here by referring to them
  as “unfounded.”



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                     Second Quarter Earnings Call – July 25, 2018
        153. On July 25, 2018, Remondi hosted an investor conference call on behalf
  of Navient to discuss the company’s earnings for the second quarter of 2018.
  Remondi began the call by addressing the CFPB Complaint, stating in relevant part:

        Before I provide my comments on this quarter’s positive results, I’d
        like to provide an update on the regulatory political issues. We are
        approaching the fifth anniversary since the CFPB served its first civil
        investigative demand on the company. This process has been
        backwards from the start. It began with the conclusion that the problems
        student loan borrowers were experiencing were caused by improper
        servicing, then they looked for examples. However, the ongoing search
        for evidence to support this claim continues to come up empty-
        handed. The bureau is now requesting yet another extension to continue
        its search. 5 years and no evidence, it’s time for this case to be
        dismissed.

        These regulatory cases do not address the real issues facing federal
        student loan borrowers. High cost, lack of financial planning resources,
        program complexity and low graduation rates are the issues that need
        to be addressed. We have long advocated for changes to address these
        issues, and today, we’ve published a letter that lays out the issues and
        advances 5 recommendations that would improve outcomes for
        borrowers.

        154. In response to Wedbush Securities Inc. Analyst Henry Joseph Coffey’s
  question about the CFPB case, Defendant Remondi continued to attempt to mitigate
  the market impact of the disclosure of the actions accusing Navient of misconduct
  when he replied:

        I can’t speak to how the CFPB will manage the caseload and the issues
        that are in front of them. I can speak to our particular case as it relates
        to the court process. As I said, this has been somewhat of a backwards
        process. They issued the conclusion before they began their research.
        And since that conclusion 5 years ago, they’ve been in search of
        evidence to support what they believe to be true. They have found


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        nothing. There is no evidence to date to support their case. I mean,
        these are in the court filings. They have not presented any customer
        accounts that are consistent with their claims. The big frustration for us
        is that in a civil legal matter like this, we do not have a right to a speedy
        trial. So here we are 2 years into the legal process, and we probably
        won’t see the inside of a courtroom if this thing goes to trial for another
        2 years. And so our arguments here are, you’ve had 5 years to look for
        your evidence, you found none, it’s time to move on.
        155. The statements identified in paragraphs 153 and 154 above in emphasis
  were false and materially misleading because they represented that the allegations
  against Navient were without evidence or any factual basis. Contrary to Defendants’
  categorical and absolute denials, Navient was placing borrowers into forbearance
  arrangements when IDR plans would have been more suitable. Navient maintained
  and enforced a practice of placing borrowers into forbearance arrangements, when
  IDR plans would have been more suitable, for the benefit of Navient. Evidence from
  the CFPB’s lawsuit, including interviews with borrowers, testimony from Navient
  employees, and “flow charts” used by customer service representatives, show that
  Navient was intentionally steering borrowers away from IDR plans and into
  forbearance for years in order to minimize operating costs. As CW1 described,
  Navient loan specialists were instructed by management to only offer an IDR plan
  if a borrower had first declined forbearance, a graduated payment plan, or an
  extended payment plan. Moreover, the results of the FSA Audit show that in 220 of
  2,388 randomly selected phone calls to borrowers from 2014 through 2017,
  borrowers were offered forbearance as the only option. These facts show that
  Navient materially misled the public by referring to the accusations as completely
  and absolutely lacking any foundational basis in fact.




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                            Quarterly Report – August 3, 2018
        156. On August 3, 2018, Navient issued its quarterly report for the second
  quarter of 2018 on Form 10-Q (the “2Q18 10-Q”). Remondi and Lown signed the
  2Q18 10-Q.
        157. In the 2Q18 10-Q, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 2Q18
  10-Q stated as follows:

        Getting borrowers into the right payment plans: We help customers
        understand the complex array of federal loan repayment options so
        they can make informed choices about the plans that are aligned with
        their financial circumstances and goals. We promote awareness of
        federal repayment plan options, including Income-Driven Repayment
        (“IDR”) . . . We also help borrowers understand that options
        lengthening their repayment term may increase the total cost of their
        loans, while reminding them that they may pay extra or switch
        repayment plans at any time.

        Forbearance involves granting the customer a temporary cessation of
        payments (or temporary acceptance of smaller than scheduled
        payments) for a specified period of time. . . . Our forbearance policies
        include limits on the number of forbearance months granted
        consecutively and the total number of forbearance months granted
        over the life of the loan. . . Forbearance as a recovery tool is used most
        effectively when applied based on a customer’s unique situation,
        including historical information and judgments.

        158. The statements identified in paragraph 157 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the
  customer’s unique situation, with limited use of forbearance. In reality, Navient was
  using forbearance as a tool to conceal delinquency and default rates, with


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  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Moreover, the results of the
  FSA Audit show that in 220 of 2,388 randomly selected phone calls to borrowers
  from 2014 through 2017, borrowers were offered forbearance as the only option.
  Navient, who had already responded to the FSA Audit by this point, had even
  admitted to the FSA that had improperly handled a number of calls by placing
  borrowers into forbearance. Both CW1 and CW2 indicated that Navient used
  forbearance liberally and repeatedly, and generally as the only option for borrowers.
  For these reasons, the 2Q18 10-Q affirmatively misstated Navient’s policies and
  practices towards forbearance.
        159. The 2Q18 10-Q was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the
  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 2Q18 10-Q:

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           In addition, Navient and its subsidiaries are subject to examination or
           regulation by the SEC, CFPB, FFIEC, [Department of Education] and
           various state agencies as part of its ordinary course of business. Items
           or matters similar to or different from those described above may arise
           during the course of those examinations. We also routinely receive
           inquiries or requests from various regulatory entities or bodies or
           government agencies concerning our business or our assets. Generally,
           the Company endeavors to cooperate with each such inquiry or request.

           160. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 2Q18 10-Q was misleading because it did not disclose the FSA
  Audit.
           Barclays Global Financial Services Conference – September 13, 2018
           161. Remondi, on behalf of Navient, participated in an analyst conference
  sponsored by Barclays on September 13, 2018. During the conference, Barclays
  Bank Analyst Mark DeVries interviewed Remondi. Mr. DeVries asked Remondi,
  among other things, where Navient stands with CFPB case. Remondi replied:

           So the CFPB process, as I’ve said before, is we’re now in year 5 of our
           -- of this lengthy -- a lengthy process. And unfortunately, our -- this is
           certainly my view of this, but they started with a conclusion, and the
           conclusion was then -- and then went in search of evidence to support
           that conclusion through numerous CIDs, which are civil investigative
           demands. They were able to -- they requested data, we responded to it,
           provided it to them, about why borrowers move through different
           statuses in the repayment process. The -- then they moved into the legal
           side of the equation. We’ve been fact discovery through the court

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        process at this stage. We have been responsive. We’ve been providing
        them the information that they’ve been asking for in this process. In
        some instances, we had some debates as to how broad that process can
        be where the request is so broad that it becomes difficult to use and
        process and work with them on that side. But at the end of the day, here
        we are 5 years in and we still don’t have any examples of borrower
        accounts that support their accusations. And so our view here is that
        I want us to get to court. I’d love it to get to trial, prove our case, because
        I’m highly confident that we’ll prevail. This is a complicated process
        and the -- and so I tell folks I’ve learned my -- I had to relearn my civics
        lessons from high school. You don’t have a right to a speedy trial in a
        civil case, and so we’re probably not going to see the inside of a
        courtroom for 2 years, unfortunately. So we are working to get the facts
        out there and make sure that people understand that there is no evidence
        to support the claims and get this resolved as quickly as possible.

        162. The statements identified in paragraph 161 above in emphasis were
  false and materially misleading because they represented that the allegations against
  Navient were without evidence or any factual basis. Contrary to Defendants’
  categorical and absolute denials, Navient was placing borrowers into forbearance
  arrangements when IDR plans would have been more suitable. Navient maintained
  and enforced a practice of placing borrowers into forbearance arrangements, when
  IDR plans would have been more suitable, for the benefit of Navient. Evidence from
  the CFPB’s lawsuit, including interviews with borrowers, testimony from Navient
  employees, and “flow charts” used by customer service representatives, show that
  Navient was intentionally steering borrowers away from IDR plans and into
  forbearance for years in order to minimize operating costs. As CW1 described,
  Navient loan specialists were instructed by management to only offer an IDR plan
  if a borrower had first declined forbearance, a graduated payment plan, or an
  extended payment plan. Moreover, the results of the FSA Audit show that in 220 of
  2,388 randomly selected phone calls to borrowers from 2014 through 2017,
  borrowers were offered forbearance as the only option. These facts show that


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  Navient materially misled the public by referring to the accusations as completely
  and absolutely lacking any foundational basis in fact.
                         Quarterly Report – November 2, 2018
        163. On November 2, 2018, Navient issued its quarterly report for the third
  quarter of 2018 on Form 10-Q (the “3Q18 10-Q”). Remondi and Lown signed the
  3Q18 10-Q.
        164. In the 3Q18 10-Q, Navient, Remondi, and Lown discussed the
  company’s loan servicing practices and, in particular, the company’s practices
  regarding forbearance, in a materially misleading manner. In pertinent part, the 3Q18
  10-Q stated as follows:

        Getting borrowers into the right payment plans: We help customers
        understand the complex array of federal loan repayment options so
        they can make informed choices about the plans that are aligned with
        their financial circumstances and goals. We promote awareness of
        federal repayment plan options, including Income-Driven Repayment
        (“IDR”) . . . We also help borrowers understand that options
        lengthening their repayment term may increase the total cost of their
        loans, while reminding them that they may pay extra or switch
        repayment plans at any time.

        Forbearance involves granting the customer a temporary cessation of
        payments (or temporary acceptance of smaller than scheduled
        payments) for a specified period of time. . . . Our forbearance policies
        include limits on the number of forbearance months granted
        consecutively and the total number of forbearance months granted
        over the life of the loan. . . Forbearance as a recovery tool is used most
        effectively when applied based on a customer’s unique situation,
        including historical information and judgments.

        165. The statements identified in paragraph 164 above in emphasis were
  materially false and misleading because they falsely stated that Navient was helping
  borrowers to be put in the best program to avoid default, that was based on the


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  customer’s unique situation, with limited use of forbearance. In reality, Navient was
  using forbearance as a tool to conceal delinquency and default rates, with
  forbearance granted liberally and repeatedly to the detriment of many borrowers.
  Evidence from the CFPB’s lawsuit, including interviews with borrowers, testimony
  from Navient employees, and “flow charts” used by customer service
  representatives, show that Navient was intentionally steering borrowers away from
  IDR plans and into forbearance for years in order to minimize operating costs.
  Numerous borrowers (identified above in paragraph 70) were placed into
  forbearance indiscriminately and for the longest possible periods without regard to
  the borrower’s unique “financial circumstances and goals.” To the contrary,
  Navient’s strict time limits on calls and scripting practices steered borrowers into
  forbearance by precluding Navient employees from even having the opportunity to
  discuss IDR options with borrowers or learning of the borrowers’ unique
  circumstance in order to find the best plan for them. Moreover, the results of the
  FSA Audit show that in 220 of 2,388 randomly selected phone calls to borrowers
  from 2014 through 2017, borrowers were offered forbearance as the only option.
  Navient, who had already responded to the FSA Audit by this point, had even
  admitted to the FSA that had improperly handled a number of calls by placing
  borrowers into forbearance. Both CW1 and CW2 indicated that Navient used
  forbearance liberally and repeatedly, and generally as the only option for borrowers.
  For these reasons, the 3Q18 10-Q affirmatively misstated Navient’s policies and
  practices towards forbearance.
        166. The 3Q18 10-Q was also false and materially misleading because it
  concealed the fact that Navient had been audited by the FSA in March 2017 in
  response to the CFPB’s allegations concerning the company’s forbearance practices.
  Item 103 of Regulation S-K required Navient to disclose “material pending legal
  proceedings” and to provide “a description of the factual basis” underlying the

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  proceeding. Instead of disclosing the FSA Audit, Navient disclosed the following in
  the 3Q18 10-Q:

           In addition, Navient and its subsidiaries are subject to examination or
           regulation by the SEC, CFPB, FFIEC, [Department of Education] and
           various state agencies as part of its ordinary course of business. Items
           or matters similar to or different from those described above may arise
           during the course of those examinations. We also routinely receive
           inquiries or requests from various regulatory entities or bodies or
           government agencies concerning our business or our assets. Generally,
           the Company endeavors to cooperate with each such inquiry or request.

           167. The FSA Audit qualified as a material pending legal proceeding that
  was not of a routine nature and that should have been disclosed to the public. The
  FSA Audit was material given that it was initiated in response to the CFPB
  Complaint. Defendants publicly categorically denied any factual basis for the
  allegations in the CFPB Complaint. Had Defendants disclosed the FSA Audit,
  investors would have been less likely to believe their categorical denials and better
  able to assess the regulatory risk associated with their investments in Navient. For
  these reasons, the 3Q18 10-Q was misleading because it did not disclose the FSA
  Audit.
  G.       U.S. Senator Elizabeth Warren and the Associated Press Release Hard
           Evidence of Navient Student Loan Malfeasance Confirming that Navient
           Steered Borrowers into Forbearance for Profit.
           168. On November 13, 2018, Senator Warren wrote a letter to Remondi
  accusing him of misleading her in previous conversations about Navient’s servicing
  practices. Among other things, the letter accused Remondi of withholding and
  concealing the FSA Audit from her office. Senator Warren published the letter and
  the FSA Audit report on her official website on November 20, 2018. In pertinent
  part, Senator Warren wrote:



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        This report bolsters allegations that Navient illegally cheated
        struggling student borrowers out of their rights to lower repayments.
        It also directly contradicts information that you provided to me
        personally during a June 2018 meeting in my office.

        ...

        The audit I received demands an explanation. It appears that, while the
        company was publicly stating that there was no truth to the
        allegations about Navient’s misbehavior by CFPB, the company had
        received an official Education Department audit that revealed your
        company was not meeting federal standards or adequately servicing
        student loan borrowers. You made these same denials to me privately
        - compounding the problem by denying the existence of any third-
        party audit that identified Navient’s failures.

        …

        During our discussion about the CFPB’s lawsuit, which alleges that
        Navient steered struggling student borrowers into expensive loan
        forbearance programs, you strongly denied the allegations, repeating
        the same denials you have made publicly. I then asked if you were
        aware of any third-party analysis of the CFPB’s allegations, including
        the allegation that Navient steered borrowers into forbearance plans
        rather than income-driven repayment plans. You said ‘no.’ I followed-
        up and asked if you were aware of any Department of Education
        analysis of these allegations, including whether Navient steered
        struggling borrowers into forbearance. You responded that the
        Education Department conducted routine and targeted audits of all the
        servicers, including Navient, but that you were unaware of any audit
        that looked into this specific issue.

        To confirm the information that you provided, and to obtain as much
        information as possible on the allegations against Navient, I had my
        staff request all routine and targeted audits of Navient conducted by the
        Department’s Office of Federal Student Aid (FSA) from the past two
        years. The Department responded with all of the audits, including a
        May 18, 2017 audit report from FSA entitled, “Navient Use of



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        Forbearance Site Visit Review.” According to the review methodology,
        which was included in the audit:

               [T]he objective of the site visit was to assess whether the
               use of forbearance by the Navient CSRs met the standards
               outlined in federal regulations, contractual requirements,
               and implemented Change Requests. More specifically, the
               review team evaluated whether or not the Navient agents
               offered all the applicable options before placing a
               borrower in forbearance.

        The existence of this particular audit on the subject of forbearance
        surprised me, since you told me in my office that you were not aware
        of any such audits of Navient on this issue.
        169. Senator Warren recognized that the results of the audit as “even more
  disturbing” with respect to the site visit and “even more alarming” with respect to
  Navient’s servicing system, and describing the findings as “both tragic and
  infuriating, and the findings appear to validate the allegations that Navient boosted
  its profits by unfairly steering student borrowers into forbearance when that was
  often the worst financial option for them.”
        170. Senator Warren then concluded:

        The CFPB alleged that, “[f]rom January 2010 to March 2015, [Navient]
        added up to $4 billion in interest charges to the principal balances of
        borrowers who were enrolled in multiple, consecutive forbearances.”
        This audit report raises questions about whether a significant portion of
        these charges could have been avoided had Navient acted in the best
        interests of these borrowers. It also gives disturbing new weight to
        Navient’s astounding assertion in response to the CFPB’ s lawsuit
        that, “There is no expectation that the servicer will ‘act in the interest
        of the consumer. ‘“

        Given Navient’s admitted disregard for the best interests of students,
        the troubling finding of this May 2017 FSA audit, and your own
        misleading answers to questions about the existence of this audit
        during our June 2018 meeting, I am providing you the opportunity for


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        you to correct the misinformation you provided me during our meeting,
        and explain the appalling findings of this audit.
        171. On November 20, 2018, at approximately 2:00 p.m. ET, the Associated
  Press released an “exclusive” report on Senator Warren’s letter to Remondi as well
  as the FSA Audit. According to the Associated Press’s report, Department of
  Education spokeswoman Liz Hill said that the FSA audited Navient’s forbearance
  practices after the CFPB filed its lawsuit against the company in January 2017 to see
  if there were any compliance issues.
        172. The Associated Press article made note of a number of the audit’s
  significant findings, and specifically quoted Navient’s response to the audit as well
  as the response of Seth Frotman, the CFPB’s then-current student loan ombudsman:

        “We (are not) aware of any requirement that borrowers receive all of
        their repayment options … on each and every call,” the company said,
        adding that if the Department of Education chose to require all servicers
        to discuss income-driven repayment plans with all borrowers, the
        Department of Education needs to redo its contract with Navient.

        Seth Frotman, who was the highest-ranking government official in
        charge of student loans until he quit in August in protest over how the
        Trump-controlled Department of Education and Consumer Financial
        Protection Bureau were handling the issue of student loans, said
        Navient’s response was outrageous.

        “In short, Navient, when confronted with evidence of its bad practices,
        is telling the government, ‘Pay us more money or take a hike.’ And It
        looks like the Department of Education took a hike,” Frotman said.

        173. The FSA’s report was dated May 18, 2017 with on-site dates of March
  20 through 24, 2017. As part of their inquiry, FSA auditors did a call center review
  listened in on about 2,400 randomly selected calls to borrowers from 2014 to 2017
  out of a batch of 219,000. The findings were as follows:




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               a.    FSA listened to 2,388 phone calls, including 388 inbound and
                     2,000 outbound calls. Of these, FSA determined almost 1/10
                     calls were only offered forbearance as an option.

               b.    In several instances where only forbearance was offered, it was
                     after a borrower had already made a promise to pay within a short
                     time, without being given the opportunity to decide if another
                     option (like one of the Income Driven plans or a deferment)
                     would have been more favorable. And in some instances, interest
                     was capitalized when another option may have prevented it.”

               c.    FSA recommended in the report that “Navient ask questions so
                     that the borrower is able to determine which option (like promise
                     to pay) would be most beneficial to resolve the delinquency. . . .
                     FSA does not believe a borrow should use unnecessary
                     forbearance time that will result in interest capitalization.”

               d.     “[M]any CSRs did not offer alternative or beneficial options
                     when attemption to assist borrowers with bringing their account
                     current or managing repayment. CSRs did not ask probing
                     questions to determine if it would be more beneficial for the
                     borrower to enter a deferment or to change to one of the Income
                     Driven Repayment (IDR) options.”

               e.    FSA recommended in the report that, “Navient provide
                     borrowers with all options available so that the borrower may
                     make an informed decision based on their current situation. The
                     use of forbearance in lieu of any other options can cause more
                     undue hardship to a borrower in the long term.”

        174. FSA also reported that “it isn’t always easy to determine exactly what
  happened on a given call with Navient’s CLASS system. Of the forty accounts, the
  review team was able to determine that 21 of them offered the borrower an option
  other than forbearance. For the other nineteen accounts, FSA asked for Navient to
  provide the call that resulted in the notation on the account; eight of those did not
  offer the borrower any other option.” Additional findings were as follows:



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               a.    Navient offered borrowers ONLY forbearance in 20% of the
                     samples. In a few of these instances, where there was a change
                     of circumstances, Navient did not suggest a new repayment plan
                     or an unemployment deferment. In other instances, the borrower
                     requested a month or two of forbearance and Navient provided
                     the forbearance without probing to see if there was a better option
                     available to the borrower.

               b.    While the FSA acknowledges difference in training processes
                     after July 1, 2015, “FSA recommends that Navient provide
                     communication/on-going training to their agents so that
                     borrowers consistently receive all of their options - repay, IDR,
                     deferment and forbearance.”

               c.    “About half of the time (21 out of 40 accounts), Navient’s notes
                     were not clear enough to determine what happened on the
                     account. For example, entries on the same day would have a
                     comment suggesting that the borrower both accepted and
                     rejected the forbearance. It was unclear whether this was the
                     same call or a different call. One reason for this is the CLASS
                     system does not provide the timestamp to show when a
                     transaction happened, unless the call was routed through the
                     IVR. Another reason for this is because Navient’s CARES
                     system used to notate the account that the borrower rejected the
                     forbearance when CSRs went to a different section of the
                     CARES system. This issue of “rejecting forbearance” was
                     resolved with a system upgrade in June 2016. In other examples,
                     the phone agent clearly provided several options (repay, IDR,
                     deferment) before ultimately giving the borrower the forbearance
                     option. However, the note only displayed that the forbearance
                     was processed without a discussion of the other options.”

        175. As part of their inquiry, FSA auditors did a live side-by-side review at
  Navient. For the side-by-side reviews, the review team listened to live calls as they
  entered the system. FSA auditors noted that the agents were friendly and polite,



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  however, Navient CSRs have varying degrees of skill when navigating calls. For
  example, one of the agents recently finished the eleven week training course and did
  a good job navigating the call. However, a more seasoned agent was not able to
  provide the next steps for a disabled borrower wanting to apply for discharge based
  on a determination by the Social Security Administration. After the review team left
  site, Navient provided CR 3294 (SSA match for TPD) to their staff for additional
  education.
        176. Navient responded to the audit, which was included in the FSA Audit
  report in a section titled “Servicer Response.” In its response, Navient conceded that
  some calls were improperly handled. For instance, Navient admitted the following
  calls were improperly handled:

               a.    Customer “advised she was going through a divorce that should
                     be settled in a few months and asked to postpone payments. Prior
                     to the call, the customer had temporary hold expire that was
                     applied after we qualified her for hardship deferment and were
                     awaiting the required documentation. The customer was also in
                     IDR (ICR, but in the permanent standard payment) and these
                     should have been clues to the agent to ask if payment amount
                     was affordable after forbearance expired or other probing
                     questions to ensure hardship was in fact temporary and not long
                     term. Although other options were not discussed, a letter was sent
                     to the customer after the call that did include other options,
                     including IOR.”

               b.    Customer “requested 2 months of postponement due to other
                     obligations and advised that she would likely be able to resume
                     payments in August or September making the relief temporary in
                     nature. However, because [customer] was already in IDR
                     (processed in 04/2014) the agent should have reminded the
                     customer that she did have the option of recalculating her IDR
                     payment if needed. In addition, the agent should have asked
                     probing questions to determine if deferment was an option given
                     the short term nature of the requested relief.”


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              c.     Customer “was in IDR at the time of the call (processed on
                     03/25/2015) and requested postponement for 3-month due to
                     financial issues. Since this was short term, the agent offered
                     forbearance. Customer did not indicate there was an overall
                     change in financial circumstance, just a temporary inability to
                     pay but he agent could have confirmed that recalculation of
                     current payment amount wasn’t needed before offering
                     forbearance.”

              d.     Customer “requested forbearance, which the agent granted based
                     on available time. Since the customer wanted 6-months of
                     forbearance the agent should have asked probing questions to
                     definitively rule out other options.”
        177. Numerous news sources quickly reported on the FSA’s audit findings,
  on the Associated Press story, including CNBC, American Banker, Fox Business
  News, Market Watch, and CBS.
        178. On November 19, 2018, Navient’s stock price closed at $12.00. On
  November 20, 2018, Navient’s stock price closed at $10.73 per share on unusually
  heavy volume. Between November 19, 2018 and November 20, 2018, Navient’s
  stock price fell $1.27 per share, a drop of approximately 11%, in response to the
  news about the FSA Audit and increased regulatory scrutiny, including scrutiny from
  Senator Warren.
  H.    Defendants Acted with Scienter.
   The FSA Audit establishes Defendants’ knowledge about the forbearance scheme
                         and illegal loan servicing practices.

        179. Defendants knew of problems with Navient’s student loan servicing
  from the FSA Audit which was specifically “to assess whether the use of forbearance
  by Navient CSRs met the standards outlined in federal regulations, contractual
  requirements, and implemented Change Request. More specially, the review team



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  evaluated whether or not the Navient agents offered all the applicable options before
  placing a borrower in forbearance.”
        180. The date of the FSA Audit report was May 18, 2017. FSA auditors were
  on site at Navient from March 20, 2017 through March 24, 2017. Navient provided
  its responses to the Department of Education which were incorporated in the FSA
  Audit report. Navient and the Individual Defendants, therefore, were on notice that
  the Department of Education took issue with many of Navient’s practices. The FSA
  Audit report showed that Navient was aware that FSA auditors did a call center
  review and listened in on about 2,400 randomly selected calls to borrowers from
  2014 to 2017 out of a batch of 219,000. The findings were as follows:

               a.    FSA listened to 2,388 phone calls, including 388 inbound and
                     2,000 outbound calls. Of these, FSA determined almost 1/10
                     calls were only offered forbearance as an option.

               b.    In several instances where only forbearance was offered, it was
                     after a borrower had already made a promise to pay within a short
                     time, without being given the opportunity to decide if another
                     option (like one of the Income Driven plans or a deferment)
                     would have been more favorable. And in some instances, interest
                     was capitalized when another option may have prevented it.”

               c.    FSA recommended in the report that “Navient ask questions so
                     that the borrower is able to determine which option (like promise
                     to pay) would be most beneficial to resolve the delinquency. . . .
                     FSA does not believe a borrower should use unnecessary
                     forbearance time that will result in interest capitalization.”

               b.     “[M]any CSRs did not offer alternative or beneficial options
                     when attemption to assist borrowers with bringing their account
                     current or managing repayment. CSRs did not ask probing
                     questions to determine if it would be more beneficial for the
                     borrower to enter a deferment or to change to one of the Income
                     Driven Repayment (IDR) options.”



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              c.     FSA recommended in the report that, “Navient provide
                     borrowers with all options available so that the borrower may
                     make an informed decision based on their current situation. The
                     use of forbearance in lieu of any other options can cause more
                     undue hardship to a borrower in the long term.”

        181. Navient and the Individual Defendants also knew that FSA reported
  that “it isn’t always easy to determine exactly what happened on a given call with
  Navient’s CLASS system. Of the forty accounts, the review team was able to
  determine that 21 of them offered the borrower an option other than forbearance. For
  the other nineteen accounts, FSA asked for Navient to provide the call that resulted
  in the notation on the account; eight of those did not offer the borrower any other
  option.” Additional FSA findings were as follows:

              a.     Navient offered borrowers ONLY forbearance in 20% of the
                     samples. In a few of these instances, where there was a change
                     of circumstances, Navient did not suggest a new repayment plan
                     or an unemployment deferment. In other instances, the borrower
                     requested a month or two of forbearance and Navient provided
                     the forbearance without probing to see if there was a better option
                     available to the borrower.

              b.     While the FSA acknowledges difference in training processes
                     after July 1, 2015, “FSA recommends that Navient provide
                     communication/on-going training to their agents so that
                     borrowers consistently receive all of their options - repay, IDR,
                     deferment and forbearance.”

              c.     “About half of the time (21 out of 40 accounts), Navient’s notes
                     were not clear enough to determine what happened on the
                     account. For example, entries on the same day would have a
                     comment suggesting that the borrower both accepted and
                     rejected the forbearance. It was unclear whether this was the
                     same call or a different call. One reason for this is the CLASS
                     system does not provide the timestamp to show when a


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                     transaction happened, unless the call was routed through the
                     IVR. Another reason for this is because Navient’s CARES
                     system used to notate the account that the borrower rejected the
                     forbearance when CSRs went to a different section of the
                     CARES system. This issue of “rejecting forbearance” was
                     resolved with a system upgrade in June 2016. In other examples,
                     the phone agent clearly provided several options (repay, IDR,
                     deferment) before ultimately giving the borrower the forbearance
                     option. However, the note only displayed that the forbearance
                     was processed without a discussion of the other options.”

        182. Navient and the Individual Defendants also knew that as part of their
  inquiry, FSA auditors did a live side-by-side review at Navient. For the side-by-side
  reviews, the review team listened to live calls as they entered the system. FSA
  auditors noted that the agents were friendly and polite, however, Navient CSRs have
  varying degrees of skill when navigating calls. For example, one of the agents
  recently finished the eleven week training course and did a good job navigating the
  call. However, a more seasoned agent was not able to provide the next steps for a
  disabled borrower wanting to apply for discharge based on a determination by the
  Social Security Administration. After the review team left site, Navient provided CR
  3294 (SSA match for TPD) to their staff for additional education.
        183. From the FSA Audit, Navient was aware that: the Department of
  Education was not satisfied with Navient’s practices; the Department of Education
  determined Navient’s systems had shortcomings for servicing loans; the Department
  of Education noted the varying levels of competence and skill that Navient’s agents
  possessed and suggested additional education; and that the Department of Education
  expected Navient to educate borrowers on repayment options beyond just deferment.




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    Navient implemented and maintained formal policies and practices that steered
                          borrowers into forbearance plans.

        184. Navient’s formal compensation plans and its practices for handling
  calls were formal corporate policies and, therefore, would not have existed without
  the Individual Defendants’ approval. The compensation plans incentivized
  employees to minimize the call time in which customers might be serviced and
  accordingly encouraged employees to put customers into forbearance versus IDRs
  or other options.
        185. Indeed, Navient created “flow charts” that its customer service
  representatives were required to use. These flow charts directed Navient employees
  to offer only deferment or forbearance to borrowers who indicate that they cannot
  afford to make any payment. Scripts were also created for customer service
  representatives which, as described by CW1 and CW2, prohibited employees from
  offering IDR plans before offering forbearance. Patricia Peterson’s hearing
  testimony confirms that this was a company-sanctioned practice and procedure. The
  examples of borrower “steering” provided herein further confirm that this practice
  was implemented and enforced by Navient management.
        186. Additionally, as detailed in the various CFPB and State Attorneys
  General complaints, as well as complaints filed by Mississippi’s AG and lawsuits
  filed by members of the American Federation of Teachers, each of which Navient
  and the Individual Defendants were aware and familiar with, these improper loan
  servicing practices were not the sporadic actions of rogue employees, but rather
  highly systematized, including through the use of scripts. Such a streamlined process
  for dealing with borrowers could not have been implemented without the knowledge
  and approval of senior management.




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        187. In fact, Navient’s employee compensation plans incentivized against
  the exact practices that Navient boasted as merits. The contradiction between
  Defendants’ statements and actual policies and practices is strong evidence that
  Defendants knew that Navient’s public statements were false and either intended to
  mislead investors or recklessly disregarded the risk of doing so.
   The forbearance scheme and illegal loan servicing practices were an integral part
                             of Navient’s core operations.

        188. The forbearance scheme and loan servicing practice (often in the
  resulting misapplication or non-application of payments) impacted Navient’s bottom
  line in a material manner, so much so that the forbearance scheme amounted to an
  integral part of the company’s core operations. These practices allowed Defendants
  to minimize costs by paying fewer workers to process more calls and payments while
  also manipulating financials such that more loans would be listed as current, thus
  allowing for a higher EPS as well as appearing less risky to investors. This also
  allowed Defendants to be able to report better metrics to Department of Education
  to allow for increased allocations of federal loans. The Individual Defendants
  oversaw all material aspects of Navient’s day-to-day operations and, therefore,
  would have been aware of the forbearance scheme and its material effect on
  Navient’s financials.
        189. Navient maintained incentive policies that encouraged the improper
  forbearance practices. Senior executives would have known about such widespread
  practices spawned by company policies that were implemented by management.
  Navient’s financial results and servicing data were critical to its operations and
  prospects for future Department of Education contracts. Navient’s pervasive practice
  of placing borrowers into forbearance materially impacted its financial results and
  thus went to Navient’s core operations.


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        190. As noted above, misusing forbearances allowed Navient to artificially
  understate the levels of delinquencies, defaults, and charge-offs in its loan portfolios,
  as borrowers in forbearance were still considered “current” on their accounts.
  Understating delinquencies, defaults, and charge-offs allowed Navient in turn to
  artificially understate its provisions for loan losses. And because loan loss provisions
  were recorded as an expense on Navient’s income statement, artificially depressing
  them allowed Navient to report artificially inflated net income and EPS. That
  manipulation of core financial information would have required the knowledge (or
  reckless disregard) of Navient’s senior executives.
        191. Defendants acted with scienter when making their representations
  concerning Navient’s servicing practices. Given the pervasiveness of improper loan-
  servicing activities at Navient, it is highly implausible that Navient’s senior
  executives did not know or, in the absence of deliberate recklessness, would not have
  been aware of them.
    Navient intentionally orchestrated the forbearance scheme to maximize profits,
   increase executive bonuses, and strengthen loan servicing opportunities from the
                                Department of Education.
        192. On January 18, 2017, in response to three complaints filed by the IL
  and WA Attorneys General and the CFPB, and then on June 28, 2018, in response
  to the CAAG Complaint, Navient denied any wrong-doing and began a twenty-two-
  month charade to mislead both investors into believing that Navient was a compliant
  loan servicer with low default rates due to their highly efficient, ‘data-driven,’
  ‘customer-centric’ practices. Navient perpetuated this scheme to mislead the market
  through repeated statements in SEC filings, press releases, releases on Navient’s
  website, interviews with press, and conference calls whose seeming primary purpose
  to attempt to exonerate Navient by hyping Navient’s alleged loan servicing practices.



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  By driving students into forbearance as opposed to taking the time to explain loan
  options, Navient was able to accomplish a number of goals.
        193. Navient, through the use of an employee incentive program to limit call
  times and a script in which borrowers were steered into forbearance program, was
  able to keep labor costs down by processing more calls from borrowers in less time
  with fewer employees. Navient placed borrowers into forbearance in lieu of
  counseling and enrollment in IDR programs. As described above, the process to
  explain and enroll a borrower in forbearance was far less time-consuming than the
  process for explaining various IDR options and enrolling borrowers in the program,
  thus by utilizing a script that pushed forbearance over IDR, Navient was able to
  service more troubled borrowers in less time and with fewer employees.
        194. This policy, while beneficial to Navient by limiting overhead, was
  detrimental to borrowers and in direct conflict with its policies as represented to the
  public and Department of Education. Navient placed borrowers into forbearance in
  lieu of counseling and enrolling them in alternative repayment programs, including
  IDR plans. In doing so, Navient avoided (at borrowers’ expenses) the higher
  operational costs associated with properly counseling and enrolling borrowers in
  such plans. That is, it would take significantly more time, and thus employee
  resources, to shepherd a borrower through the process of getting into an alternative
  repayment plan than simply to place her into forbearance. As the CFPB explained,
  “[a]s the volume of [IDR] plan applications and renewals received by Navient
  increases, Navient also has to increase the size of its staff to review and process those
  forms, thereby increasing operating costs.” Navient thus avoided those necessary
  operating costs by improperly placing borrowers into forbearance. That, in turn,
  would necessitate hiring more personnel to meet the needs of Navient’s customer
  base. By eschewing its stated commitment to promote borrowers’ best interests,
  Navient artificially kept its operational costs lower than they should have been.

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        195. Navient also pushed borrowers into forbearance to avoid having to
  classify those borrowers as delinquent or in default, which would raise a red flag to
  analysts and investors that Navient’s loan portfolios were exposed to higher levels
  of risk than Defendants disclosed, and that it was in turn a riskier investment than
  Defendants portrayed to the market. This was beneficial to Navient because it
  portrayed as being a less risky investment to investors.
        196. Increases in delinquencies, defaults, and charge-offs caused Navient to
  increase its loan loss provisions, whereas favorable delinquency and default trends
  correspond with lower provisions. The provision for loan losses “increases the
  related allowance for loan losses,” i.e., the total reserve set aside to address charge-
  offs. Navient records those provisions as an expense on its income statement, so
  lower provisions allow Navient to report higher income, resulting in higher EPS. By
  overusing forbearances, Navient artificially kept delinquencies, defaults, and
  charge-offs lower than they should have been, which in turn allowed Navient to
  report artificially low loan loss provisions as well as correspondingly high net
  income and EPS.
        197. This process was additionally beneficial to Navient because by pushing
  borrowers into forbearance, and then, often, repeatedly enrolling borrowers in
  forbearance programs, Navient was able to keep borrowers out of delinquency or
  default while continuing to accrue and capitalize interest on the loans.
        198. Additionally, using forbearance to artificially increase EPS, Navient
  was able to artificially decrease delinquencies and defaults, which are key metrics
  that Department of Education uses in analyzing how to allocate additional loan
  servicing under the TIVAS contracts.
        199. Navient had a Management Incentive Plan for Navient’s Named
  Executive Officers (“NEOs”) designed to drive performance metrics that aligned
  with Navient’s business objectives. For 2016, these performance metrics included

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  (i) EPS on a “Core Earnings” basis, (ii) strategic debt financing proceeds, and (iii)
  private education loan defaults. As Navient noted in its Proxy Statement dated April
  13, 2017, “Gross loan defaults is a key metric used by our investors and others to
  measure the performance of our loan portfolios.” There was a target for each of the
  performance metrics, with a weight assigned to each metric, as well as a scale of
  “payout factors” to assess Navient’s performance relative to target. These payout
  factors range from 50% based on a threshold level of performance, to 150% based
  on a maximum level of performance, with performance below threshold resulting in
  a payout factor of 0%. The weight-value for the Performance Metrics were broken
  down as follows - the Earnings Per Share on a “Core Earnings” Basis was weighted
  at 40%, Strategic Debt Financing Proceeds was weighted at 20%, Fee Income
  (generated through loan servicing, asset recovery, and other business processing
  activities) was weighted at 10%, Private Education Loan Gross Defaults were
  weighted at 15% and Revenue from Growth Business (non-federal-loan-related
  business) was weighted at 15%.
        200. For 2016, Navient’s performance resulted in above-target payments
  under the 2016 Management Incentive Plan. Under the 2016 Management Incentive
  Plan, NEO’s received bonus which were 166.665% (150% times 11.1%) of their
  respective base salaries. In addition to their base salaries Remondi received
  $1,666,500 while Chivavibul received $633,270 in additional compensation on top
  of their respective base salaries. Remondi’s base salary for 2016 was $1,000,000
  while Chivavibul received $380,000. Such large performance-based compensations
  were strong incentives for the NEOs to manipulate EPS and loan default statistics.
        201. Further, by increasing the number of trouble borrowers serviced in a
  compliant manner, within shorter times, and with lower labor costs, Navient was
  able to make itself more attractive to the Department of Education in that Navient
  could boast its capacity to service high volumes of loans at lower costs. This was

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  particularly important during 2017 when the Trump administration was trying make
  a number of changes and offering new loan servicing contracts. For instance,
  Wedbush noted on April 17, 2017 in its report on Navient that Education Secretary
  Betsy DeVos’s proposed single-servicer contract “is a reset that could ultimately
  extend to all areas of related servicing and open doors previous closed to Navi with
  the Department of Education.”
        202. Navient had a strong motive to hold itself out as being a compliant,
  efficient, customer-oriented loan servicer so that it could put itself in a better place
  to win various Department of Education contracts.
  I.    Loss Causation and Economic Harm.
        203. As a result of Defendants’ wrongful acts and omissions, and the
  precipitous decline in the market value of Navient’s common stock in response to
  company new specific news about Navient’s practices, Plaintiff and the other Class
  members have suffered significant damages.
        204. During the Class Period, Defendants concealed from Plaintiff and other
  Class members that Navient faced increased regulatory risk and exposure that would
  arise from illicit loan servicing practices such as steering borrowers to forbearance
  and failing to inform them about other options such as IDRs. To the extent that
  information came into the market suggesting that Navient may have been engaged
  in such improper practices, Defendants continually denied that Navient had engaged
  in any such practices and insisted that Navient’s practices with borrowers was
  appropriate at all times and conducted in the best interests of the borrowers. This, in
  turn, artificially inflated the price of Navient’s common stock and operated as a fraud
  or deceit on purchasers of Navient’s common stock by materially misleading the
  investing public. Later, when Defendants’ prior misrepresentations and fraudulent
  conduct became apparent to the market as evidence of Navient’s forbearance scheme
  emerged, the price of Navient’s common stock materially declined as the prior

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  artificial inflation came out of the price over time. As a result of their purchases of
  Navient’s common stock during the Class Period, Plaintiff and other members of the
  Class suffered economic loss, i.e., damages under federal securities laws.
        205. The first stock drop was caused by the PA AG’s Complaint.
  Specifically, on October 4, 2017, Navient’s stock price closed at $14.70. On October
  5, 2017, Navient’s stock price closed at $12.60 per share on unusually heavy volume.
  Between October 4, 2017 and October 5, 2017, Navient’s stock price fell $2.10 per
  share, a drop of approximately 14%, on the news of the PA AG’s complaint. The
  significant decline in Navient’s stock price was caused directly by Defendants’
  continued misrepresentations about Navient’s servicing practices.
        206. The second stock drop was caused by the Associated Press’s release of
  the FSA Audit report and Senator Warren’s letter to Remondi on November 20,
  2018, which revealed additional information about Navient’s improper practices that
  had not yet been available to the market. On November 19, 2018, Navient’s stock
  price closed at $12.00. The next day, on November 20, 2018, Navient’s stock price
  closed at $10.73 per share on unusually heavy volume. Between November 19, 2018
  and November 20, 2018, Navient’s stock price fell $1.27 per share, a drop of
  approximately 11%.
        207. The declines in Navient’s stock price was caused by the revelation to
  the market about the true state of loan servicing within Navient and Remondi’s
  propensity to lie to the public, including to sitting senators. These truths revealed
  that Defendants had concealed from the public that Navient was subject to a
  heightened risk of regulatory exposure as a result of its servicing practices. As
  investors fully understood the risk profile and true nature of Navient’s servicing
  practices (which Defendants had repeatedly and aggressively previously attempted
  to conceal), they reacted sharply by selling the stock immediately. This resulted in
  damages to Navient investors.

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        208. Overall, from before the first partial disclosure on October 5, 2017,
  until the second disclosure on November 20, 2018, the Navient’s stock price fell
  from $14.70 on October 4, 2017 to $10.73 on November 20, 2018, for a total drop
  of $3.97, or 27%.
        209. The decline in the price of Navient’s common stock caused economic
  harm to Plaintiff and other Class members as the value of their investments declined
  due to the fraud alleged herein.
  J.    Presumption of Reliance; Fraud-On-The-Market.
        210. At all relevant times, the market for Navient’s common stock was an
  efficient market for the following reasons, among others:
               a.     Navient’s common stock met the requirements for listing and
                      was listed and actively traded on the NASDQ Exchange, a highly
                      efficient and automated market;
               b.     Navient communicated with public investors via established
                      market communication mechanisms, including disseminations of
                      press releases on the national circuits of major newswire services
                      and   other    wide-ranging    public    disclosures,   such   as
                      communications with the financial press and other similar
                      reporting services;
               c.     Navient was followed by several securities analysts employed by
                      major brokerage firms who wrote reports that were distributed to
                      the sales force and certain customers of their respective
                      brokerage firms during the Class Period. Each of these reports
                      was publicly available and entered the public marketplace; and
               d.     Unexpected material news about Navient was reflected in and
                      incorporated into its stock price during the Class Period.



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        211. As a result of the foregoing, the market for Navient’s common stock
  promptly digested current information regarding Navient from all publicly available
  sources and reflected such information in Navient’s stock price. Under these
  circumstances, all purchasers of Navient’s common stock during the Class Period
  suffered similar injury through their purchase of Navient’s common stock at
  artificially inflated prices, and a presumption of reliance applies.
        212. Alternatively, reliance need not be proven in this action because the
  action involves omissions and deficient disclosures. Positive proof of reliance is not
  a prerequisite to recovery pursuant to ruling of the United States Supreme Court in
  Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is
  necessary is that the facts withheld be material in the sense that a reasonable investor
  might have considered the omitted information important in deciding whether to buy
  or sell the subject security.
  K.    No Safe Harbor: Inapplicability of Bespeaks Caution Doctrine.
        213. The statutory safe harbor provided for forward-looking statements
  under certain circumstances does not apply to any of the material misrepresentations
  and omissions alleged in this Complaint because they are not forward looking
  statement which are the only statements that can be protected by the statutory safe
  harbor.
        214. To the extent certain of the statements alleged to be misleading or
  inaccurate may be characterized as forward looking, they were not identified as
  “forward-looking statements” when made and there were no meaningful cautionary
  statements identifying important factors that could cause actual results to differ
  materially from those in the purportedly forward-looking statements.
        215. Defendants are also liable for any false or misleading “forward-looking
  statements” pleaded because, even if they were identified as “forward looking
  statements,” which they were not, at the time each “forward-looking statement” was

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  made, the speaker knew the “forward-looking statement” was false or misleading
  and the “forward-looking statement” was authorized and/or approved by an
  executive officer of Navient who knew that the “forward-looking statement” was
  false. Alternatively, none of the historic or present-tense statements made by the
  defendants were assumptions underlying or relating to any plan, projection, or
  statement of future economic performance, as they were not stated to be such
  assumptions underlying or relating to any projection or statement of future economic
  performance when made, nor were any of the projections or forecasts made by the
  defendants expressly related to or stated to be dependent on those historic or present-
  tense statements when made.
                 PLAINTIFF’S CLASS ACTION ALLEGATIONS
        216. Plaintiff brings this action as a class action pursuant to Federal Rule of
  Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
  purchased or otherwise acquired Navient common stock during the Class Period (the
  “Class”); and were damaged upon the revelation of the alleged corrective disclosure.
  Excluded from the Class are defendants herein, the officers and directors of Navient,
  at all relevant times, members of their immediate families and their legal
  representatives, heirs, successors or assigns and any entity in which defendants have
  or had a controlling interest.
        217. The members of the Class are so numerous that joinder of all members
  is impracticable. Throughout the Class Period, Navient common stock was actively
  traded on the NASDAQ market. While the exact number of Class members is
  unknown to Plaintiff at this time and can be ascertained only through appropriate
  discovery, Plaintiff believe that there are hundreds or thousands of members in the
  proposed Class. Record owners and other members of the Class may be identified
  from records maintained by Navient or its transfer agent and may be notified of the
  pendency of this action by mail, using the form of notice similar to that customarily

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  used in securities class actions. As of September 30, 2017, there were 263,012,203
  shares of Navient common stock outstanding. Upon information and belief, these
  shares are held by thousands, if not millions, of individuals located throughout the
  country and possibly the world. Joinder would be highly impracticable.
        218. Plaintiff’s claims are typical of the claims of the members of the Class
  as all members of the Class are similarly affected by Defendants’ wrongful conduct
  in violation of federal law that is complained of herein.
        219. Plaintiff will fairly and adequately protect the interests of the members
  of the Class and have retained counsel competent and experienced in class and
  securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
  of the Class.
        220. Common questions of law and fact exist as to all members of the Class
  and predominate over any questions solely affecting individual members of the
  Class. Among the questions of law and fact common to the Class are:
                  a.   whether the federal securities laws were violated by Defendants’
                       acts as alleged herein;
                  b.   whether statements made by Defendants to the investing public
                       during the Class Period misrepresented material facts about the
                       business, operations, practices, policies and management of
                       Navient;
                  c.   whether the Individual Defendants caused Navient to issue
                       materially false and misleading statements during the Class
                       Period;
                  d.   whether Defendants acted knowingly or recklessly in issuing
                       false and misleading statements;




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               e.     whether the prices of Navient’s common stock during the Class
                      Period were artificially inflated because of Defendants’ conduct
                      complained of herein; and
               f.     whether the members of the Class have sustained damages and,
                      if so, what is the proper measure of damages.
        221. A class action is superior to all other available methods for the fair and
  efficient adjudication of this controversy since joinder of all members is
  impracticable. Furthermore, as the damages suffered by individual Class members
  may be relatively small, the expense and burden of individual litigation make it
  impossible for members of the Class to individually redress the wrongs done to them.
  There will be no difficulty in the management of this action as a class action.
                                        COUNT I
         Against Defendants for Violations of Section 10(b) and Rule 10b-5
        222. Plaintiff repeats and realleges each and every allegation contained
  above as if fully set forth herein.
        223. This Count is asserted against defendants and is based upon Section
  10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
  thereunder by the SEC.
        224. During the Class Period, Defendants engaged in a plan, scheme,
  conspiracy and course of conduct, pursuant to which they knowingly or recklessly
  engaged in acts, transactions, practices and courses of business which operated as a
  fraud and deceit upon Plaintiff and the other members of the Class; made various
  untrue statements of material facts and omitted to state material facts necessary in
  order to make the statements made, in light of the circumstances under which they
  were made, not misleading; and employed devices, schemes and artifices to defraud
  in connection with the purchase and sale of common stock. Such scheme was
  intended to, and, throughout the Class Period, did: (i) deceive the investing public,

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  including Plaintiff and the other Class members, as alleged herein; (ii) artificially
  inflate and maintain the market price of Navient common stock; and (iii) cause
  Plaintiff and the other members of the Class to purchase or otherwise acquire
  Navient’s common stock at artificially inflated prices. In furtherance of this unlawful
  scheme, plan and course of conduct, Defendants, and each of them, took the actions
  set forth herein.
        225. Pursuant to the above plan, scheme, conspiracy and course of conduct,
  each of the Defendants participated directly or indirectly in the preparation and/or
  issuance of the quarterly and annual reports, SEC filings, press releases and other
  statements and documents described above, including statements made to securities
  analysts and the media that were designed to influence the market for Navient’s
  common stock. Such reports, filings, releases and statements were materially false
  and misleading in that they failed to disclose material adverse information and
  misrepresented the truth about Navient’s finances and business prospects.
        226. By virtue of their positions at Navient, Defendants had actual
  knowledge of the materially false and misleading statements and material omissions
  alleged herein and intended thereby to deceive Plaintiff and the other members of
  the Class, or, in the alternative, Defendants acted with reckless disregard for the truth
  in that they failed or refused to ascertain and disclose such facts as would reveal the
  materially false and misleading nature of the statements made, although such facts
  were readily available to defendants. Said acts and omissions of Defendants were
  committed willfully or with reckless disregard for the truth. In addition, each
  Defendant knew or recklessly disregarded that material facts were being
  misrepresented or omitted as described above.
        227. Information showing that Defendants acted knowingly or with reckless
  disregard for the truth is peculiarly within Defendants’ knowledge and control. As



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  the senior managers and/or directors of Navient, the Individual Defendants had
  knowledge of the details of Navient’s internal affairs.
        228. The Individual Defendants are liable both directly and indirectly for the
  wrongs complained of herein. Because of their positions of control and authority,
  the Individual Defendants were able to and did, directly or indirectly, control the
  content of the statements of Navient. As officers and/or directors of a publicly-held
  company, the Individual Defendants had a duty to disseminate timely, accurate, and
  truthful information with respect to Navient’s businesses, operations, future
  financial condition and future prospects. As a result of the dissemination of the
  aforementioned false and misleading reports, releases and public statements, the
  market price of Navient’s common stock was artificially inflated throughout the
  Class Period. In ignorance of the adverse facts concerning Navient’s business and
  financial condition which were concealed by defendants, Plaintiff and the other
  members of the Class purchased or otherwise acquired Navient’s common stock at
  artificially inflated prices and relied upon the price of the common stock, the
  integrity of the market for the common stock and/or upon statements disseminated
  by defendants, and were damaged thereby.
        229. During the Class Period, Navient’s common stock was traded on an
  active and efficient market. Plaintiff and the other members of the Class, relying on
  the materially false and misleading statements described herein, which the
  Defendants made, issued or caused to be disseminated, or relying upon the integrity
  of the market, purchased or otherwise acquired shares of Navient’s common stock
  at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the
  other members of the Class known the truth, they would not have purchased or
  otherwise acquired said common stock, or would not have purchased or otherwise
  acquired them at the inflated prices that were paid. At the time of the purchases
  and/or acquisitions by Plaintiff and the other Class members, the true value of

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  Navient’s common stock was substantially lower than the prices paid by Plaintiff
  and the other members of the Class. The market price of Navient’s common stock
  declined sharply upon public disclosure of the facts alleged herein to have been
  misrepresented or omitted by Defendants to the injury of Plaintiff and other Class
  members.
        230. By reason of the conduct alleged herein, Defendants knowingly or
  recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
  and Rule 10b-5 promulgated thereunder.
        231. As a direct and proximate result of Defendants’ wrongful conduct,
  Plaintiff and the other members of the Class suffered damages in connection with
  their respective purchases, of Navient’s common stock during the Class Period, upon
  the disclosure that it had been disseminating misrepresented facts about Navient and
  its business, practices and policies to the investing public.
                                       COUNT II
         Against the Individual Defendants for Violations of Section 20(a)
        232. Plaintiff repeats and realleges each and every allegation contained in
  the foregoing paragraphs as if fully set forth herein.
        233. During the Class Period, the Individual Defendants participated in the
  operation and management of Navient, and conducted and participated, directly and
  indirectly, in the conduct of Navient’s business affairs. Because of their senior
  positions, they knew the adverse non-public information about Navient’s
  misstatement of income and expenses and false financial statements.
        234. As officers and/or directors of a publicly owned company, the
  Individual Defendants had a duty to disseminate accurate and truthful information
  with respect to Navient’s financial condition and results of operations, and to correct
  promptly any public statements issued by Navient which had become materially
  false or misleading.

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           235. Because of their positions of control and authority as senior officers,
  the Individual Defendants were able to, and did, control the contents of the various
  reports, press releases and public filings which Navient disseminated in the
  marketplace during the Class Period concerning Navient’s operations. Throughout
  the Class Period, the Individual Defendants exercised their power and authority to
  cause Navient to engage in the wrongful acts complained of herein. The Individual
  Defendants therefore, were “controlling persons” of Navient within the meaning of
  Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful
  conduct alleged which artificially inflated the market price of Navient’s common
  stock.
           236. Each of the Individual Defendants, therefore, acted as a controlling
  person of Navient. By reason of their senior management positions and/or being
  directors of Navient, each of the Individual Defendants had the power to direct the
  actions of, and exercised the same to cause, Navient to engage in the unlawful acts
  and conduct complained of herein. Each of the Individual Defendants exercised
  control over the general operations of Navient and possessed the power to control
  the specific activities which comprise the primary violations about which Plaintiff
  and the other members of the Class complain.
           237. By reason of the above conduct, the Individual Defendants are liable
  pursuant to Section 20(a) of the Exchange Act for the violations committed by
  Navient.
                                PRAYER FOR RELIEF
           WHEREFORE, Plaintiff demands judgment against defendants, jointly and
  severally, as follows:
                 a.    Determining that the instant action may be maintained as a class
                       action under Rule 23 of the Federal Rules of Civil Procedure, and



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                      certifying Plaintiff as the Class representative and his counsel as
                      Class Counsel;
               b.     Requiring defendants to pay damages sustained by Plaintiff and
                      the other members of the Class by reason of the acts and
                      transactions alleged herein;
               c.     Awarding Plaintiff and the other members of the Class pre-
                      judgment and post-judgment interest, as well as their reasonable
                      attorneys’ fees, expert fees and other costs; and
               d.     Awarding such other and further relief as this Court may deem
                      just and proper.
                           DEMAND FOR TRIAL BY JURY
         Plaintiff hereby demand a trial by jury.
   Dated: March 18, 2019                  LEVI & KORSINSKY, LLP

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